            Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 1 of 56




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

     JOHN DOE I, et al.,

           Plaintiffs,
                                                              Case No. 1:01-cv-1357-RCL
     v.
                                                                      UNSEALED
     EXXON MOBIL CORPORATION, et al.,

             Defendants.


                                     MEMORANDUM OPINION

            At his deposition, the corporate representative of defendant Exxon Mobil Oil of Indonesia

  (“EMOI”) refused to answer most of the substantive questions posed to him. Instead, he repeatedly

  read nonresponsive statements verbatim from pre-prepared notes.

            After the deposition, the plaintiffs sought sanctions and to compel responsive answers.

  Astonishingly, the defendants—EMOI and its parent company ExxonMobil Corporation—cross-

  moved for sanctions. Given the deponent’s recalcitrance, the plaintiffs’ motion has merit. The

  defendants’ motion, however, is meritless.

            Upon consideration of the motions (ECF Nos. 777, 782) and the parties’ briefs and

  evidentiary submissions (ECF Nos. 777, 782, 790/791, 792), by separate order the Court will

  GRANT the plaintiffs’ motion to compel and motion for sanctions and DENY the defendants’

  motion for sanctions.

I.        BACKGROUND

            The Court refers to its previous decisions, which extensively discuss this case’s factual

  background and extended procedural history. See Doe v. Exxon Mobil Corp., Mem. Op. (Aug. 10,

  2020), ECF No. 719; Doe v. Exxon Mobil Corp., 391 F. Supp. 3d 76 (D.D.C. 2019); Doe v. Exxon

  Mobil Corp., No. 01-cv-1357-RCL, 2019 WL 2348100, (D.D.C. June 3, 2019); Doe v. Exxon


                                                    1
        Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 2 of 56




Mobil Corp., Mem. Op. (Dec. 7, 2016) (ECF No. 586); Doe v. Exxon Mobil Corp., 69 F. Supp. 3d

75 (D.D.C. 2014); Doe v. Exxon Mobil Corp., 573 F. Supp. 2d 16 (D.D.C. 2008); Doe v. Exxon

Mobil Corp., No. 01-cv-1357-LFO, 2006 WL 1193855, (D.D.C. May 3, 2006); Doe v. Exxon

Mobil Corp., 393 F. Supp. 2d 20 (D.D.C. 2005).

       Briefly, this case arises out of human rights abuses that the plaintiffs allege they (or their

next-of-kin) suffered because of the defendants’ efforts to secure a natural gas facility in Aceh,

Indonesia. The remaining claims are for torts governed by Indonesian law. See Doe, 391 F. Supp.

3d at 93.

   A. Relevant Procedural History

       Last summer, the parties brought several discovery disputes before the Court.              See

generally Mem. Op. (Aug. 10, 2020). As relevant here, the Court granted leave to take remote

depositions because of the COVID-19 pandemic, id. at 7–8, and compelled the defendants to

designate representatives to give additional 30(b)(6) depositions, id. at 5–6. It at first limited the

depositions by forbidding the plaintiffs from questioning the deponents about documents the

plaintiffs had access to before September 18, 2007. Order 1 (Aug. 10, 2020), ECF No. 720; see

also id. Upon reconsideration, the Court modified the restrictions on the depositions to prohibit

the plaintiffs only from re-asking questions to which a 30(b)(6) deponent previously provided a

responsive answer. Order 4 (Oct. 14, 2020), ECF No. 758.

       To ensure that it had time to handle any disputes, the Court also set a detailed timeline for

litigating the scope of the depositions. It set deadlines for the parties to meet and confer about

scope and scheduling, for the plaintiffs to notice the depositions, and for the defendants to seek a

protective order. Id. at 4–5. The parties conferred and the plaintiffs noticed the depositions. See

Pls.’ Mot., Ex. E, H, I–J. The defendants did not seek a protective order.




                                                  2
         Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 3 of 56




        The Court also entered an order establishing a protocol for conducting remote depositions.

See Order 3–9 (Sept. 24, 2020), ECF No. 750. The protocol requires counsel to act collegially,

cooperatively, and reasonably. Id. at 7–8. It also tries to safeguard the integrity of remote

depositions by limiting deponents’ ability to consult with other persons, id. at 5–7, and by

forbidding deponents, while depositions are on the record, from “hav[ing] access to any form of

information related to the litigation other than exhibits specifically marked and identified for the

record by either side, including . . . materials that contain any notes, files or documents that relate

to the subject matter of the litigation,” id. at 6.

    B. Relevant Factual Background

        On February 15, 2021 (Singapore Standard Time), the plaintiffs deposed Mark Snell,

ExxonMobil’s Asia Pacific regional general counsel. Kit Pierson questioned Mr. Snell for the

plaintiffs; Alex Young K. Oh defended the deposition.1

        One telling excerpt from the first hour provides an example of how the deposition

proceeded:

                 Plaintiffs’ Counsel (Mr. Pierson): Now, I want to begin by asking
                 you about the information that was provided to EMOI officials about
                 the human rights record of the Indonesian military in Aceh.

                 Defense Counsel (Ms. Oh): What topic does this relate to?

                 Plaintiffs’ Counsel: 2 and 3(d), among others.               Now, my first
                 question, sir —

                 Witness (Mr. Snell): Well, you have 34 topics, so it is probably
                 better to be as specific as possible so that I can answer your
                 questions accurately.

                 Plaintiffs’ Counsel: Well, sir, I will pose my questions clearly. I will
                 pose my questions clearly. But in general this is encompassed,
                 among other things, by 2 and 3(d). Did EMOI take steps to make

1
 Other attorneys appeared for both sides, but none of the others spoke on the record. See Pls. Mot., Ex. B (“Snell
Tr.”) 5:16–6:12.



                                                        3
            Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 4 of 56




                    sure that senior management was informed about the human rights
                    record of the Indonesian military in Aceh?

                    Defense Counsel: So that’s topic 2 and 3(d) you said, Mr. Pierson?

                    Plaintiffs’ Counsel: Go ahead, sir.

                    Defense Counsel: Is that correct?

                    Plaintiffs’ Counsel: Alex, I’m not going to spend the deposition
                    answering your questions. If you have an objection, make an
                    objection. Go ahead, sir.

                    Defense Counsel: I’m trying to make things clear, Mr. Pierson,
                    unless you want it extremely muddy. Is it topic 2 and 3(d) that you
                    just said?

                    Plaintiffs’ Counsel: Alex, I’m not playing those games with you. Sir,
                    the question is —

                    Defense Counsel: You know what, I’m sorry, you need to check
                    your tone and conduct and remain a professional here, okay? I do
                    not appreciate your tone. You need to calm down, take a deep breath
                    and be a professional here, Mr. Pierson.2

                    Plaintiffs’ Counsel: You know, that’s a highly inappropriate remark,
                    but I’m simply going to pose my question to the witness. Did EMOI
                    take steps to make sure that senior management was informed about
                    the human rights record of the Indonesian military in Aceh?

                    Defense Counsel: Objection to form.

                    Witness: If this is a reference to topic 3(d), topic 3(d) is your policies
                    and practices regarding security for the Arun Project between 1
                    January 1999 and 30 June 13 2001 regarding planning, directions or
                    instructions provided to security personnel, including any
                    restrictions or limits placed on their conduct. It doesn’t reference
                    management.

                    Plaintiffs’ Counsel: Sir, my question is, did EMOI take steps to
                    make sure that senior management was informed about the human
                    rights record of the Indonesian military in Aceh? Will you answer
                    that question?

                    Defense Counsel: Objection to form.


2
    Plaintiffs’ counsel’s voice was calm and controlled during this exchange. See 1 Snell Video at 24:24–25:18.



                                                           4
Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 5 of 56




     Witness: So in response to topic 2, EMOI is not aware of any human
     rights abuses, assaults, batteries, sexual abuse, torture, violence and
     other torts committed by any EMOI security employees at the Arun
     field operations. There was a violent civil war raging in Aceh during
     the relevant time periods between the government of Indonesia and
     the Aceh separatists who wanted independence from Jakarta, the
     Free Aceh Movement, or the Gerakan Aceh Merdeka, usually
     referred to as GAM. The decades-long conflict between the
     government of Indonesia and GAM erupted in terrible violence after
     the Suharto regime fell in 1998. I understand that a significant
     number of GAM fighters came into Aceh from other countries after
     1998, and the government of Indonesia also deployed approximately
     30,000 to 40,000 Indonesian soldiers to the area to fight GAM and
     to protect their vital objects. The violence between the warring
     parties continued throughout the relevant time period. As a civilian
     contractor, EMOI was caught in the midst of this civil war. By
     Indonesian law, EMOI was required to accept Indonesian military
     soldiers assigned by Pertamina and the government of Indonesia to
     protect facilities that EMOI operated. EMOI did not hire or employ
     such Indonesian soldiers as security personnel and had no control
     over them. EMOI became aware of published reports in 1998, after
     the fall of Suharto, in publications such as Business Week, alleging
     that Indonesian military personnel committed human rights abuses.
     I have not seen any evidence in the preparation for this deposition
     that EMOI was aware of such allegations prior to 1998. I did see
     evidence that during the relevant time period EMOI repeatedly
     requested of Pertamina that the assigned government security for the
     facilities only serve in a defensive function and observe all laws in
     their conduct.

     Plaintiffs’ Counsel: I will move to strike as nonresponsive. Sir, let
     me ask you —

     Defense Counsel: Excuse me, the witness is not done.

     Witness: I’m addressing topic 2, correct? So I would like to give
     you a full answer.

     Plaintiffs’ Counsel: Sir, let me ask you a question. Are you reading
     your answer?

     Witness: Yeah, I have notes.

     Plaintiffs’ Counsel: Are you reading an answer that was prepared
     for you by counsel?




                                       5
Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 6 of 56




     Witness: These notes have been prepared as a consequence of the
     extensive period of preparation that I have referred to, and they are
     a distillation of notes that I have to aid my recollection.

     Plaintiffs’ Counsel: Was that whole speech you just gave, was that
     written by defense counsel for you?

     Defense Counsel: Objection to form. Objection to form.

     Mr. Snell: So there were 34 topics, including a number of subtopics.
     The topics are very extensive, very wide-ranging. To reasonably
     and accurately respond to the topics that you have identified in your
     notice, I have notes that will enable me to do that.

     Plaintiffs’ Counsel: My question, sir — my question, sir, was what
     you just read prepared by counsel, by the defense team?

     Witness: No, these notes were prepared in consultation with
     counsel.

     Plaintiffs’ Counsel: And did you write those words yourself or did
     counsel write them for you, sir?

     Witness: As I said, these notes were prepared in consultation with
     counsel and with their assistance.

     Plaintiffs’ Counsel: Okay, now, sir, I’m not interested in the long
     narrative that someone has written — that you or someone else has
     written for you. My question —

     Defense Counsel: Objection to form.

     Plaintiffs’ Counsel: Alex, let me finish making my question. You
     want to talk about professional conduct. Let me ask my question
     before you interrupt or you object. My question is quite specific, sir.
     Did EMOI take steps to make sure that senior management was
     informed about the human rights record of the Indonesian military
     in Aceh?

     Defense Counsel: Objection to form.

     Witness: I was in the middle of responding to your reference to
     topic 2.

     Plaintiffs’ Counsel: Sir, put topic 2 aside. I’m asking a very specific
     question. Did EMOI take steps to make sure that senior management
     was informed about the human rights record of the Indonesian
     military in Aceh?


                                       6
        Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 7 of 56




               Defense Counsel: Objection to form. Please continue.

               Mr. Snell: Yes, so continuing where I left off, I also saw that when
               EMOI became aware of allegations of misconduct on the part of
               military, EMOI would, as a practice, elevate those concerns to
               Pertamina, the Indonesian military, and the Indonesian government,
               and request that the military abide by law and show respect for
               human rights, and to investigate the matter. Although this is not an
               exhaustive list, for example, Ron Wilson, who is the highest-ranking
               EMOI employee in Indonesia, notified Pertamina that there were
               rumors that the Indonesian military allegedly tortured civilians,
               made clear that EMOI does not condone the reported acts, if true,
               and urged Pertamina to ensure the safety of all citizens in Aceh.
               Similarly, when an EMOI security guard was killed, Jim Russell and
               Ron Wilson informed several colonels and lieutenant colonels in the
               Indonesian military, that quote, “MOI management was extremely
               concerned about the safety and security of its employees and has
               requested security authorities to conduct a thorough investigation.”
               Several witnesses in the past have been questioned extensively by
               the plaintiffs about this topic. Just as examples, I will incorporate
               some of Lance Johnson’s and Ron Wilson’s deposition testimony
               on this point. Of course this testimony is not exhaustive on this
               subject. I reference Johnson deposition conducted January 11, 2008,
               beginning at transcript page 242, line 15 —

               Plaintiffs’ Counsel: Sir, I’m going to interrupt.

               Defense Counsel: Excuse me, the witness is not done yet.

               Plaintiffs’ Counsel: I am going to interrupt. This is filibustering. It
               is improper —

               Defense Counsel: No, no, no.

               Plaintiffs’ Counsel: Let me finish.

               Defense Counsel: That —

               Plaintiffs’ Counsel: Alex, let me finish. This is filibustering. It is
               improper and it is sanctionable. I would ask — I’m going to move
               to strike the whole answer as nonresponsive.

Snell Tr. 25:4–34:22. Mr. Snell read his long answers from a set of notes he had before him.

Compare id. at 27:18–29:23, 32:19–34:8, with Pls.’ Mot., Ex. D at 6–7. Those notes were not

identified and marked as an exhibit until the very end of the deposition. Snell Tr. 362:14–15



                                                 7
         Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 8 of 56




        Much of the deposition followed this pattern. And even when Mr. Snell did not read from

his notes, he often gave nonresponsive answers.

        To enable thorough analysis of Mr. Snell’s conduct at his deposition, the Court categorizes

each of the questions the plaintiffs’ counsel asked him and each of the responses he gave. 3 See

infra Appendix. The Court categorizes questions as either (1) preliminary to the deposition,

(2) foundational (or about the record), or (3) substantive. It categorizes answers as (1) responsive,

(2) nonresponsive, (3) asserting insufficient knowledge to answer, or (4) precluded by an

instruction not to answer.4 The appendix to this opinion contains a full categorization of all the

questions and answers. As the following table summarizes, the Court’s analysis establishes that

Mr. Snell provided non-responsive answers to more than one hundred questions.

                                                               Question Type
      Answer Type                  Preliminary                  Foundational                  Substantive
       Responsive                         40                           88                           61

     Nonresponsive                        1                            38                           68
       Insufficient
                                          0                            3                            15
       Knowledge
     Instructed Not
                                          0                            0                            2
        to Answer

See id. Although categorizing questions and answers is an imprecise art, the sheer scale of the

nonresponsive answers cannot be disputed.

        The Court discusses the deposition in more detail later in this opinion.




3
 The Court’s analysis excludes logistical questions (e.g., questions about whether the deponent had finished reading
exhibits).
4
 When Mr. Snell provided an incomplete or evasive answer, that answer is categorized as nonresponsive. See Fed.
R. Civ. P. 37(a)(4). When Mr. Snell at first provided a nonresponsive answer but eventually provided a responsive
answer, that answer is categorized as responsive.



                                                         8
           Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 9 of 56




          After the deposition, the plaintiffs canceled the Rule 30(b)(6) deposition of ExxonMobil’s

   designated representative, who was also Mr. Snell. Pls.’ Mot., Ex. P.

          On April 22, 2021, Ms. Oh withdrew her appearance on behalf of the defendants, stating

   that she would resign from her firm to take a job with the federal government. Notice of

   Withdrawal, ECF No. 797.

II.   LEGAL STANDARDS

      A. Motions to Compel Deposition Answers

          Federal Rule of Civil Procedure 37 governs motions to compel. It allows a party—after

   conferring in good faith with the opposing party—to seek an order to compel a discovery response.

   See Fed. R. Civ. P. 37(a)(1), (3). If a deponent fails to answer questions, the deposing party may

   move to compel responses following the adjournment or completion of a deposition. Fed. R. Civ.

   P. 37(a)(3)(B)(i), (C). An “evasive or incomplete” answer must be treated as a failure to answer.

   Fed. R. Civ. P. 37(a)(4).

          A party that prevails on a motion to compel is entitled to reimbursement for its reasonable

   expenses in making the motion, unless it failed to attempt in good faith to obtain the information

   on its own, the opposing party’s failure to respond was “substantially justified,” or an award of

   expenses would otherwise be unjust. Fed. R. Civ. P. 37(a)(5)(A), (C). Although the opposing

   party must have a chance to be heard on whether expenses should be awarded, a party’s written

   opposition to a motion requesting expenses provides that opportunity. Alexander v. FBI, 186

   F.R.D. 78, 98 (D.D.C. 1998).

      B. Discovery Sanctions

          When a party engages in a specified type of misconduct, courts may also impose discovery

   sanctions. With depositions, Rule 37 authorize courts to sanction a party’s failure to appear or to

   comply with a discovery order. Fed. R. Civ. P. 37(b)(2), (d)(1)(A)(i). The Rules also authorize


                                                   9
              Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 10 of 56




       courts to sanction any person who “impedes, delays, or frustrates the fair examination of the

       deponent.” Fed. R. Civ. P. 37(d)(2).

              In addition to the authority conferred in the Rules, Courts also have inherent authority to

       sanction bad-faith and abusive litigation practices. Chambers v. NASCO, Inc., 501 U.S. 32, 44–

       45 (1991). Courts must use that authority “with restraint and discretion,” Roadway Express, Inc.

       v. Piper, 447 U.S. 752, 764 (1980), and only after establishing the misconduct by clear and

       convincing evidence, Ali v. Tolbert, 636 F.3d 622, 627 (D.C. Cir. 2011); see also Gregory P.

       Joseph, Sanctions: The Federal Law of Litigation Abuse § 26(A)(3) (6th ed. 2020). Inherent

       sanctions are reserved for severe misconduct. Courts have awarded inherent sanctions, for

       example, against counsel for dissuading witnesses from testifying, see, e.g., Cleary Gottlieb Steen

       & Hamilton LLP v. Kensington Int’l Ltd., 284 F. App’x 826, 828–29 (2d Cir. 2008), and for

       inducing witnesses to give false testimony, see, e.g., Ibarra v. Baker, 338 F. App’x 457, 465–69

       (5th Cir. 2009).

III.      ANALYSIS

              The Court will address in turn the plaintiffs’ motion to compel, the plaintiffs’ motion for

       sanctions, and the defendants’ cross-motion for sanctions. It will then turn to various allegations

       the defendants’ made about Mr. Pierson in their filings.

          A. Plaintiffs’ Motion to Compel

              To determine whether the plaintiffs’ motion to compel should be granted, the Court must

       determine whether Mr. Snell failed to answer questions at his deposition. See Fed. R. Civ. P.

       37(a)(3)(B)(i), (a)(4). The answer is a clear “yes.” See Appendix. Mr. Snell failed to answer 110

       questions, and the defendants have not raised privilege objections to any of those questions. See

       id. The motion to compel, therefore, must be granted.




                                                       10
       Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 11 of 56




       The Court will order the defendants to produce Mr. Snell to respond under oath to every

question for which the Court categorized Mr. Snell’s answer as nonresponsive in the Appendix. If

defense counsel objected to any of those questions during Mr. Snell’s initial deposition, counsel

may restate those objections briefly and without argument.

       Because the Court will grant the motion to compel, it must award the plaintiffs their

reasonable expenses (including attorney’s fees) in making the motion unless (i) the plaintiffs failed

to make a good faith attempt to obtain the answers without court action, (ii) Mr. Snell’s failure to

respond was substantially justified, or (iii) awarding expenses would otherwise be unjust. See Fed.

R. Civ. P. 37(a)(5)(A). The plaintiffs sought repeatedly during the deposition to obtain answers,

the defendants’ offer no justification for Mr. Snell’s failure to respond, and there is no reason to

think awarding expenses would be unjust. The plaintiffs are thus entitled to an award of their

expenses.

   B. Plaintiffs’ Motion for Sanctions

       The plaintiffs seek sanctions, arguing that the defendants’ conduct violated the Court’s

order establishing the deposition protocol and that both witness Snell and defense counsel Oh

engaged in sanctionable conduct.

       1. Violation of Deposition Protocol

       By order, the Court required that all depositions adhere to a protocol it established. Order

3 (Sept. 24, 2020). The protocol set express limits on what records a witness may access during a

deposition:

               Records Available to Witness. While the deposition is on the
               record, the witness shall not have access to any form of information
               related to the litigation other than exhibits specifically marked and
               identified for the record by either side, including but not limited to
               the internet, phones or other devices or materials that contain any
               notes, files or documents that relate to the subject matter of the



                                                 11
       Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 12 of 56




               litigation. For the avoidance of doubt, this paragraph is not intended
               to apply to breaks when the deposition is off the record.

Id. at 8. Those limits were intended to safeguard the integrity of remote depositions. The plaintiffs

argue that Mr. Snell violated the protocol when he had access to eighty-five pages of detailed notes

during the deposition. Pls.’ Mot. 34. The notes were not marked as an exhibit or provided to the

plaintiffs until the final minutes of the deposition. Snell Tr. 362:14–15. The defendants, in turn,

argue that by marking the notes at the end of the deposition, they complied with the protocol. The

defendants also state that “defense counsel offered the notes to the questioning attorney within the

first hour of the EMOI deposition.” Defs.’ Reply 15; see also Defs.’ Opp’n/Cross Mot. 2, 10, 11–

12, 14, 15 n.14. But the record does not support that claim. What Ms. Oh said was “We are

prepared to mark these notes after he has reviewed them and answered your questions.” Snell Tr.

61:20–23 (emphasis added). Her offer was not to immediately remedy the violation of the

protocol. Rather, she offered to do what she eventually did: allow Mr. Snell to “review” the notes

and answer the questions and then mark the notes as an exhibit at the end of the deposition. Defs.’

Opp’n/Cross-Mot. 14–15. The plaintiffs’ argument must prevail.

       Start with the protocol’s text. It governs a witness’s access to materials while the

deposition is “on the record,” not what happens at the very end of the deposition. Furthermore,

the only exception to the general prohibition on access is for “exhibits specifically marked and

identified for the record by either side.” Marked and identified are in the past tense, indicating

that exhibits must be formally presented before the exception applies. Thus, until an exhibit has

been marked and identified, a witness may not access it while the deposition is on the record.

       That plain-text reading of the protocol supports the protocol’s purpose: ensuring the

integrity of remote depositions. As defense counsel has acknowledged, a remote deposition poses

challenges that a live deposition does not. See Snell Tr. 181:15–24. One of those challenges is



                                                 12
         Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 13 of 56




ensuring that witnesses testify without improper coaching or access to materials. Indeed, the

defendants objected to the deposition protocol because they felt it did not go far enough to protect

the integrity of the depositions. See Defs.’ Opp’n to Pl.’s Mot for Extension & Entry of Dep.

Protocol 7–9, ECF No. 747. The prohibition on witness access to records provides a crucial

integrity safeguard: it prevents witnesses from surreptitiously reading answers from notes. Virtual

depositions make such a rule necessary because the examining attorney may be unable to see what

materials the witness has before him. See Snell Tr. 236:9–237:6. But see Order 5 (Sept. 24, 2020)

(“Each party reserves the right to request the videographer display . . . the video from a sufficient

number of camera angles, if practicable, to safeguard the integrity of the deposition, and to ensure

that all activities occurring in the room are visible to all remote participants, including the Court,

if necessary.”). Marking exhibits at the end of the deposition would hamper the effectiveness of

the requirement because it would deprive the opposing party of the ability to question the

defendants about the exhibits. Text and purpose both confirm that the protocol requires the

marking and identifying of exhibits before a witness may have access to information.

        Mr. Snell violated the protocol. His notes contained nothing but information related to the

litigation. They were not marked until the closing minutes of the deposition. And he had access

to them while the deposition was on the record and before they were marked and identified. Thus,

he contravened the Court’s Order implementing the protocol.

        The next question is whether that violation is sanctionable. The answer turns on whether

the Order entering the protocol, itself essentially a Rule 26(c) protective order, is an “an order to

provide or permit discovery.”5 Fed. R. Civ. P. 37(b)(2)(A). It is.




5
 Upon a showing of bad faith, violation of the order could also be sanctionable under the Court’s inherent powers or
under 28 U.S.C. § 1927. The Court need not and does not decide whether those forms of sanctions apply.



                                                        13
       Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 14 of 56




       The Court acknowledges a split between the Circuits on whether all protective orders fit

within the scope of Rule 37(b). Compare Smith & Fuller, P.A. v. Cooper Tire & Rubber Co., 685

F.3d 486, 489–90 (5th Cir. 2012); Blum v. Schlegel, 108 F.3d 1369 (2d Cir. 1997); Kehm v. Procter

& Gamble Mfg. Co., 724 F.2d 630, 630–31 (8th Cir. 1984); Falstaff Brewing Corp. v. Miller

Brewing Co., 702 F.2d 770, 783–84 (9th Cir. 1983), with Lipscher v. LRP Publications, Inc., 266

F.3d 1305, 1323 (11th Cir. 2001); see generally Joseph, supra § 48(A)(3).              And it also

acknowledges that the D.C. Circuit has not yet addressed this question. But given the type of

protective order here, the Court holds that Rule 37(b) allows sanctions.

       The Order entering the protocol provided that discovery may be had on certain terms. It

was thus an order permitting discovery. While some protective orders—for example protective

orders prohibiting certain conduct—may not fit within Rule 37(b), a protective order that allows

discovery to go forward does. See Smith & Fuller, 685 F.3d at 489; cf. Joseph, supra § 48(A)(3)

(arguing that all orders that set terms of discovery fit within 37(b)). That reading also agrees with

the relevant advisory committee note, which explains that “[t]he scope of Rule 37(b)(2) [has been]

broadened by extending it to include any order ‘to provide or permit discovery,’ including orders

issued under Rules 37(a) and 35. Various rules authorize orders for discovery—e.g., Rule 35(b)(1),

Rule 26(c) as revised, Rule 37(d). Various rules authorize orders for discovery—e.g., Rule

35(b)(1), Rule 26(c) as revised, Rule 37(d).” Fed. R. Civ. P. 37, advisory committee’s note to 1970

amendment (emphasis added). Therefore, Mr. Snell’s violation of the discovery protocol subjects

the defendants to sanctions.




                                                 14
        Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 15 of 56




        2. Deponent’s Conduct

        Sanctions for a deponent’s “imped[ing], delay[ing], or frustrat[ing] the fair examination of

[himself],” Fed. R. Civ. P. 30(d)(2), are awarded when a deponent’s conduct is “severe, repeated,

and pervasive.” GMAC Bank v. HTFC Corp., 248 F.R.D. 182, 196–97 (E.D. Pa. 2008).

        The plaintiffs argue that Mr. Snell impeded his deposition when he repeatedly provided

nonresponsive and evasive answers, when he read nonresponsive answers verbatim from a script,

and when he misled the plaintiffs’ counsel about whether he was reading from a script.

               (i) Nonresponsive Answers

        Mr. Snell’s nonresponsive answers impeded his deposition. He failed to answer most of

the substantive questions he was asked. See Appendix (showing that Mr. Snell provided sixty-one

responsive and sixty-seven nonresponsive answers to substantive questions). Many of those

questions went to the core of the plaintiffs’ case. See, e.g., Snell Tr. 25:22–29:25 (failing to

respond to question about whether EMOI tried to inform senior management about the human

rights record of the Indonesian military in Aceh), 341:15–342:16 (failing to respond to question

about whether EMOI had knowledge about troop activities in local villages), 356:15–358:8 (failing

to respond to question about whether EMOI briefed soldiers abut use of force and torture). Mr.

Snell’s failure to answer them materially deprived the plaintiffs of information to which they are

entitled.

        Perhaps more egregiously, even when Mr. Pierson asked him simple foundational

questions, Mr. Snell did not provide responsive answers to almost one-third of them. See id. Mr.

Snell’s refusal to answer such basic questions responsively suggests that he consciously intended

to delay the deposition. He repeatedly refused to answer whether he had read testimony in

preparation for his deposition. See, e.g., Snell Tr. 108:9–109:3. And he also hampered examining




                                                15
       Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 16 of 56




counsel’s attempts to lay foundation for his questions by refusing to establish the content of

exhibits on the record. See, e.g., id. at 284:13-285:4.

       Moreover, the Court’s analysis of Mr. Snell’s responsiveness understates his obstructive

conduct. Indeed, the Court credited Mr. Snell if he provided a responsive answer at any time

during the deposition. Thus, within many of Mr. Snell’s “responsive” answers are egregious and

intentional delays. See, e.g., id. at 285:16–294:9 (long colloquy to establish that Mr. Snell had not

read EMOI risk assessments to prepare for deposition); see also 5 Snell Video at 36:27–45:28

(reflecting that exchange took nine minutes).

       Upon through review of both the transcript and video, the Court has no doubt that Mr. Snell

severely, repeatedly, and perversely obstructed his own deposition. That conduct merits sanctions.

               (ii) Scripted Answers

       Over the course of the deposition, Mr. Snell repeatedly read long answers directly from his

notes. Compare Snell Tr. 24:27–29:23, 32:19–34:8, 223:2–225:17, 230:21–233:8, with Pls. Mot.,

Ex. D at 6–8; compare Snell Tr. 281:18–282:24, with Pls. Mot., Ex. D at 10–11; compare Snell

Tr. 261:10–23, 262:19–25, 264:4–18, with Pls. Mot., Ex. D at 25; compare Snell Tr. 52:10–56:18,

315:25–319:13, with Pls. Mot., Ex. D at 35–36; compare Snell Tr. 98:8–22, 112:24–113:16,

116:12–23, 131:21–132:28, 137:20–138:7, 141:14–25, 243:16–23, 244:20–245:3, 247:17–24,

256:14–23, 328:7–15, 328:24–329:8, with Pls. Mot., Ex. D at 40; compare Snell Tr. 170:11–

172:22, with Pls. Mot., Ex. D at 41–42; compare Snell Tr. 287:17–293:2, with Pls. Mot., Ex. D at

57–59. While a handful of those answers were responsive, see Snell Tr. 244:20–245:3, 247:17–

24, 256:14–23, 328:7–15, 328:24–329:8, most were not. Mr. Snell’s reading of nonresponsive

answers impeded his deposition by wasting time and depriving the plaintiffs of information to

which they were entitled.




                                                 16
         Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 17 of 56




         To be sure, Rule 30(b)(6) deponents may rely on notes, see Alexander, 186 F.R.D. at 143,

if they otherwise comply with the appropriate deposition procedures, see, e.g., supra Section

III.B.1. But of course, there is a difference between relying on notes and reading verbatim

nonresponsive answers. Beyond the impropriety of reading, witnesses may not use notes to

provide nonresponsive answers. And while Rule 30(b)(6) depositions must generally stick to the

noticed topics, witnesses are not free to provide only general answers to the noticed topics. They

must answer the specific questions posed to them. Here, Mr. Snell treated the topics listed in the

notice of deposition like interrogatories calling for an oral response, and he used his notes to

filibuster. That was improper. And it pervasively disrupted the deposition, meriting sanctions.6

                  (iii)Misleading Answers

         During the deposition, Mr. Snell repeatedly provided inaccurate answers to the question of

whether he was reading from his notes.7 See Snell Tr. 30:8–17, 59:8–63:25, 68:25–70:9, 94:15–

95:12, 99:5–12, 113:20–114:3, 124:13–17, 133:16–19, 142:2–21, 172:25–174:8, 226:2–228:12,

283:6–9, 293:5–15, 294:10–295:15, 319:20–320:3. He also provided evasive answers to the

question of who prepared his notes. See id. at 30:11–31:20, 64:2–68:24, 70:10–73:13, 95:13–

96:20, 99:13–100:5, 228:13–25, 283:10–15, 295:16–296:9, 320:4–10.




6
  Because that is so, the Court need not and does not reach whether the notes were prepared improperly. As it stands,
the record is not clear enough to determine who played what role in drafting the notes. See infra Part III.B.2.iii.
7
  The defendants assert that Mr. Snell said that he was reading from his notes. Defs.’ Opp’n/Cross Mot. 24 (citing
Snell Tr. 30:8–10). The portion of the transcript the defendants cite consists of Mr. Pierson asking, “Are you reading
your answer?” and Mr. Snell replying “Yeah, I have notes.” Snell Tr. 30:8–10. At best, that answer is ambiguous as
to whether Mr. Snell had read his answer from his notes. The more favorable interpretation to him is that he meant
“Yes, I am reading from my notes.” But the other way to read it is that he meant simply “Yes, I do have notes.” The
lack of a pause between the words “yeah” and “I” supports the later reading, see 1 Snell Video 28:52–54, as does Mr.
Snell’s repeated obfuscation every other time Mr. Pierson posed that question to him, see Snell Tr. 59:8–63:25, 68:25–
69:7, 94:15–95:12, 98:25–99:12, 113:20–114:3, 124:13–17, 133:16–19, 142:2–21, 172:24–174:8, 226:2–228:12,
283:6–9, 293:5–15, 294:10–295:15, 319:20–320:3. Based on the entire record, the Court does not credit the
defendants’ interpretation of Mr. Snell’s statement. Instead, it concludes that his answer was nonresponsive.



                                                         17
       Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 18 of 56




       When Mr. Snell said he was “relying on [his] notes” or using his notes as an “aide-

mémoire,” see, e.g., id. at 67:23–25, he provided misleading testimony because he failed to

acknowledge that he was reading his answers. And because Mr. Snell knew that he was reading

long portions of his notes verbatim, he must have knowingly provided misleading testimony. Mr.

Snell may have scrupulously avoided denying that he had been reading from his notes. But candor

required him to answer the oft-asked question in the affirmative. Because Mr. Snell repeatedly

answered that question in a deliberately misleading manner, the Court determines that his conduct

is sanctionable.

       As for Mr. Snell’s responses as to who prepared his notes, the record does not provide

enough information to determine whether those responses were candid. To be sure, that lacuna in

the record results from Mr. Snell’s misconduct. And while the Court cannot conclude that these

answers merit sanctions, its order granting the motion to compel should produce a clear answer to

the question shortly.

       3. Defense Counsel’s Conduct

       The plaintiffs argue that defense counsel’s conduct was sanctionable in two ways. First,

they argue that defense counsel planned and helped implement Mr. Snell’s conduct. Pls. Mot. 38–

40. Second, they argue that Ms. Oh made false and disparaging statements about Mr. Pierson

during the deposition. Id. at 39.

               (i) Abetting Misconduct

       Sanctions for a defending attorney’s “imped[ing], delay[ing], or frustrat[ing] the fair

examination of [a] deponent,” Fed. R. Civ. P. 30(d)(2), are awarded when counsel’s conduct

repeatedly disrupts the deposition and prevents it from proceeding fairly. See, e.g., Fashion Exch.

LLC v. Hybrid Promotions, LLC, 333 F.R.D. 302, 305 (S.D.N.Y. 2019); Chawla v. Metro. Oral




                                                18
       Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 19 of 56




Surgery Assocs., P.C., No. 11-cv-6248-RRM-VMS, 2014 WL 4678023, at *7 (E.D.N.Y. Sept. 19,

2014) (collecting cases). Defense counsel meets that standard in two ways.

       First, the record suggests that defense counsel preplanned Mr. Snell’s conduct. The

clearest indication comes after the first answer Mr. Snell read. Mr. Snell finished a paragraph and

stopped speaking. 1 Snell Video 23:35–38; see also Snell Tr. 29:17–23. Mr. Pierson moved to

strike the answer as non-responsive. Snell Tr. at 29:24–25. And then Ms. Oh jumped in in to say,

“Excuse me, the witness is not done.” 1 Snell Video 23:41–43; see also Snell Tr. 30:3–4. Mr.

Snell then said, “I’m addressing topic 2, correct? So I would like to give you a full answer.” Snell

Tr. 30:5–7. The only way that Ms. Oh could have known that Mr. Snell was not finished with his

“full answer” would be if she had expected him to read the entire topic-two portion of his notes.

And because this was the first time Mr. Snell read from his notes and the first time Mr. Pierson

interrupted that reading, Ms. Oh must have learned before the deposition started that Mr. Snell

intended to read entire nonresponsive portions of his notes to answer specific questions. Thus, the

Court finds by the preponderance of the evidence that defense counsel and Mr. Snell planned for

Mr. Snell to read long and general answers into the record from a set of notes in violation of the

discovery protocol.

       Second, an attorney defending a deposition has a duty to try to curb his client’s misconduct

in the deposition. See GMAC Bank, 248 F.R.D. at 195–96. Despite Mr. Pierson’s repeated

requests, see Snell Tr. 56:25–57:7, 227:20–24, 223:23–234:8, Ms. Oh apparently never did

anything to encourage Mr. Snell to answer questions responsively. Nothing in the transcript and

nothing in the defendants’ filings suggests that she ever instructed Mr. Snell to provide direct

answers to specific questions.     Ms. Oh is therefore responsible alongside Mr. Snell for his

misconduct.




                                                19
        Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 20 of 56




       Because the record establishes that defense counsel was responsible for “imped[ing],

delay[ing], or frustrat[ing] the fair examination of [a] deponent,” Fed. R. Civ. P. 30(d)(2), sanctions

are appropriate.

               (ii) False and Disparaging Statements

       In their filings, defense counsel repeated many of the statements from the deposition to

which the plaintiffs object.      The Court comprehensively addresses the statements in the

defendants’ filing below. See infra Part III.D. That analysis—which finds that the statements lack

support in the record—suffices to address the grievances the plaintiffs raised in their motion for

sanctions.

                                                ***

       Having determined that the defendants’ conduct was sanctionable, the Court turns to the

proper sanctions. Sanctions must be proportional to the degree of misconduct. Bonds v. District

of Columbia, 93 F.3d 801, 808 (D.C. Cir. 1996). A sanction is proportional if it accounts for

prejudice to the opposing party and to the justice system and if it meets the need to deter similar

misconduct in the future. See id.

       The plaintiffs seek four sanctions: (1) an order permitting plaintiffs to proceed with ten

hours of questioning of the 30(b)(6) representatives of EMOI and ExxonMobil, (2) an order

requiring responsive and concise answers and concise and nonargumentative objections in the

resumed depositions, (3) an order compelling the defendants to provide any notes to defense

counsel at least one hour before the depositions, and (4) an order requiring the defendants to pay

their fees and costs of litigating these motions and in preparing for the resumed deposition. Pls.’

Mot. 42–43.




                                                  20
       Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 21 of 56




       The plaintiffs’ requests are limited in scope. They ask for the chance to fairly depose the

defendants’ corporate representatives and they ask the defendants to bear the costs associated with

their misconduct. They are entitled to that relief. The Court will also allow the plaintiffs a full

seven hours both to redepose the EMOI 30(b)(6) representative and to depose the ExxonMobil

30(b)(6) representative. See Fed. R. Civ. P. 30(d)(2). The defendants’ conduct should not permit

them to truncate the ExxonMobil deposition; that would be an improper windfall.

       Indeed, if anything, the Court is concerned that these sanctions may not go far enough to

deter future misconduct. Ultimately, though, the Court is confident that it has made clear what it

expects and that the defendants will abide by the Court’s orders. If not, the Court will not hesitate

to avail itself of the full panoply of Rule 37(b)(2)(A) sanctions.

   C. Defendants’ Cross-Motion for Sanctions

       The defendants’ cross-motion for sanctions alleges that the plaintiffs served their 30(b)(6)

deposition notice in bad faith, that Mr. Pierson impeded his own examination of Mr. Snell, and

that the plaintiffs’ improperly canceled the Rule 30(b)(6) deposition of ExxonMobil Corporation

at which Mr. Snell was scheduled to appear. None of those contentions has merit.

       1. Notice of Deposition

       The Court may sanction bad faith conduct in litigation if it finds by clear and convincing

evidence that misconduct occurred. Ali, 636 F.3d at 627.

       The defendants argue that the plaintiffs served their notice of deposition in bad faith

because the notice identified thirty-four topics and subtopics and Mr. Pierson did not ask questions




                                                 21
         Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 22 of 56




about most of those topics during the deposition.8 Defs. Opp’n/Cross Mot. 27–29; Defs.’ Reply

10–14.

         The record of the deposition does not support the defendants’ contention. Instead, it shows

that Mr. Snell’s delaying tactics and nonresponsive answers consumed much of the time allocated

for the deposition. Even the defendants admit that Mr. Snell spent more than ten percent of the

deposition reading largely nonresponsive answers from his notes. Defs.’ Reply 15. They say

almost as much time went to the still-unanswered questions about Mr. Snell’s notes. See id. at 12.

Given the time Mr. Snell spent fighting Mr. Pierson’s efforts to lay foundation, the time Mr.

Pierson had to ask substantive questions becomes vanishingly small. In short, the defendants are

in no position to say that the plaintiffs’ deposition conduct reflects bad faith when it was the

defense witness and defense counsel who derailed the deposition.9 Far from clear and convincing

evidence of misconduct, the defendants have not even produced enough evidence to show by a

preponderance that the plaintiffs’ counsel served the deposition notice in bad faith.




8
  The defendants also argue that the plaintiffs’ counsel should have identified each question by notice topic. Defs.’
Opp’n/Cross-Mot. 16–19; but see Defs.’ Reply at 14 (backing away from that argument). They cite no authority for
that proposition, and the Court has located none to support it. The topics in a Rule 30(b)(6) notice exist to “enable the
responding organization to identify the person who is best situated to answer questions about the matter, or to make
sure that the person selected to testify is able to respond regarding that matter.” 8A Richard L. Marcus, Federal
Practice and Procedure § 2103 (3d ed., Apr. 2021 update). Nothing in the rules oblige an examining attorney to link
his questions to a topic, though Mr. Pierson at times did so. See, e.g., Snell Tr. 25:8–11, 197:5–8. The defendants
also argue that they were led to believe that the plaintiffs’ counsel would question by topic because they had done so
during the 2007 Rule 30(b)(6) depositions. But those depositions are easily distinguished because the defendants
designated different representatives to testify on different topics. See Boydell Tr. 13:8–16:3; Fitzpatrick Tr. 19:13–
15; Boydell Tr. 16:8–11; see also Fitzpatrick Dep., Ex. 4. Identifying topics in that context makes perfect sense
because it helps clarify whether the questions are appropriately posed to the witness.
9
  The Court trusts that when the deposition resumes, plaintiffs’ counsel will examine the witness on all or almost all
the topics in the notice. Failure to do so may support a renewed motion for sanctions.




                                                          22
         Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 23 of 56




         2. Improper Questioning and Deposition Conduct

         The defendants advance three arguments as to why Mr. Pierson impeded the deposition.10

They point to alleged instances of Mr. Pierson interrupting Mr. Snell’s answers, moving to strike

responsive answers, and asking repetitive or harassing questions. The defense’s case does not hold

water.

                  (i) Interruptions

         Sanctions for excessive interruptions on the part of deposing counsel are rare and reserved

for extraordinary misconduct. See, e.g., Tajonera v. Black Elk Energy Offshore Operations, LLC,

No. 13-cv-366, 2015 WL 13533520, at *7–14 (E.D. La. Sept. 30, 2015) (sanctioning examining

counsel for “repetitive and harassing questioning” and “interrupting, arguing with[,] and lecturing

the witness”). The defendants have not established that here.

         The defendants offer seven examples of interruptions they believe to be improper. See

Defs.’ Opp’n/Cross-Mot. 32 (citing Snell Tr. 34:9–14, 227:3–228:3, 233:9–234:8, 283:4–5), 33

(citing Snell Tr. 276:19–277:19; 336:3–16, 351:24–352:19).

         In two of the defendants’ examples, Mr. Pierson stopped Mr. Snell from reading long non-

responsive answers from his notes. In the first example, Mr. Pierson asked Mr. Snell “Did EMOI

take steps to make sure that senior management was informed about the human rights record of

the Indonesian military in Aceh?” Snell Tr. 32:13. After Mr. Snell resumed reading a non-

responsive answer from his notes, see id. at 32:19–34:8 (describing how EMOI raised allegations

of misconduct to Indonesian officials); see also Pls.’ Mot., Ex. D at 7 (verbatim text of testimony),

Mr. Pierson interrupted, Snell Tr. 34:9. Similarly, in the the third example, the Mr. Pierson asked




 The defendants also argue in passing that the plaintiffs’ counsel baselessly threatened sanctions Defs.’ Opp’n/Cross-
10

Mot. 30. Any threats the plaintiffs’ counsel made to seek sanctions had merit. See supra Part III.B.



                                                         23
        Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 24 of 56




Mr. Snell “Did EMOI’s management become aware of the intonation reported in the first two

paragraphs [of a December 7, 2000 Wall Street Journal article] under Claims of Abuse in the year

2000?” Id. at 230:11–14. Again Mr. Snell began reading a nonresponsive answer verbatim from

his notes.11 Id. at 230:19–233:8 (describing how EMOI raised allegations of misconduct to

Indonesian officials); see also Pls.’ Mot., Ex. D at 7 (verbatim text of testimony). Mr. Pierson

asked Mr. Snell if he was finished and, upon being told that Mr. Snell had a lot more to add, moved

to strike the answer as nonresponsive. Snell Tr. 233:9–14.

        In one example, Mr. Pierson may have short-circuited a wholly nonresponsive answer. In

the second example, Mr. Pierson arguably interrupted Mr. Snell—and only when Mr. Snell offered

an answer to a different question than he was asked. Id. at 226:22–227:20 (“Q: Were you reading

it from the materials in front of you . . . A: Yeah, so, again I’m about to give you some examples.”).

        In one example, Mr. Pierson interrupted when Mr. Snell provided long and irrelevant

answer to a foundational question. In the fourth example, Mr. Pierson asked Mr. Snell to establish

the contents of the text of an exhibit. Id. at 281:10–16 (“That’s the first condition he specifies,

correct?”).    Mr. Snell answered that binary question, id. at 281:17 (“Yeah[.]”), and then

embellished his response with a reading from his notes, id. at 281:17–283:3 (describing

requirements of Indonesian law for facility protection); see also Pls.’ Mot., Ex. D at 10 (near

verbatim text of testimony). Mr. Pierson cut off his recital and moved to strike the answer as non-

responsive. Snell Tr. 283:4–5.

        Finally, three examples contain no interruptions at all. In both the fifth and sixth examples,

Mr. Pierson moved to strike nonresponsive addenda to yes-or-no foundational questions. See id.




11
  Notably, this was exactly the same text he had begun to read in the defendants’ first example. Compare Dep. Tr.
32:19–34:8 with id. at 230:19–233:8; see also Pls.’ Mot., Ex. D at 7 (verbatim text of testimony).



                                                       24
       Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 25 of 56




at 276:19–277:13, 336:3–16. In the seventh example, Mr. Pierson clarified the scope of his

foundational question following Mr. Snell’s lengthy response. See id. at 351:24–352:19.

       The defendants’ examples are just that: examples. But if these are the best instances of

improper interruptions the defendants can produce—and the Court has found no better in the

record—then the Court has no basis to sanction Mr. Pierson. Mr. Pierson’s interruptions did not

impede the deposition because Mr. Snell’s nonresponsive answers themselves delayed and

frustrated the deposition. See Fed. R. Civ. P. 30(d)(2). Mr. Pierson’s interruptions only cut off

witness-induced delay.

       To be sure, all counsel must refrain from engaging in any conduct intended to disrupt a

deposition. D.C. R. Prof. Conduct 3.5(d). Principles of decorum, courtesy, and professionalism

prohibit unnecessary interruptions. While some interruptions are unavoidable, counsel should

strive to minimize them. But though the Court generally disapproves of any counsel interrupting

a deponent, the defendants have not shown that Mr. Pierson’s interruptions were improper.

              (ii) Improper Motions to Strike

       A motion to strike a non-responsive answer is essentially an objection, so sanctions are

appropriate for improper motions to strike appropriate where the motions “essentially destroy[] a

deposition.” Fashion Exch., 333 F.R.D. at 305.

       The defendants offer five examples of motions to strike they believe to be improper. See

Defs.’ Opp’n/Cross-Mot. 30–31 (citing Snell Tr. 91:5–94:14, 217:7–17, 315:7–319:19), 31 n.32

(citing Snell Tr. 169:22–172:23; 199:9–200:10). They also say that Mr. Pierson moved to strike

Mr. Snell’s testimony twenty-five times. Defs.’ Reply 13 n.6.

       In four of the five examples, Mr. Pierson moved to strike on-topic but nonresponsive

responses to specific questions. See Snell Tr. 169:12–172:23 (question about whether Mr.




                                                25
       Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 26 of 56




Chong’s role in Aceh facilities was incidental; answer about Mr. Chong’s communications to MOI

management), 197:2–200:10 (question about Mr. Connor’s employer during specific period;

answer about Mr. Connor’s reporting relationship during part of that period), 315:7–319:19

(question about whether EMOI provided weekly reports to Exxon management in the United

States; answer about ad hoc and unspecified periodic reports). Consider one of these examples:

              Plaintiffs’ Counsel: Now, is it true, sir, that during the 1999–2001
              period we’re talking about, if EMOI became aware of credible
              information that the military guards at Arun Field threatened or
              harmed EMOI’s own employees, EMOI’s policy was to take a
              number of steps to address this?

              Defense Counsel: Objection. I request identification of the topic.

              Plaintiffs’ Counsel: Go ahead, sir.

              Defense Counsel: You refuse to provide it?

              Plaintiffs’ Counsel: Go ahead.

              Witness: Again, if you are kind enough to identify the topic, it will
              be able to move things along greatly. Again, I’m a 30(b)(6)
              deponent. I don’t have any direct knowledge of this and I need to
              be in a position to respond to the topic accurately, and for that reason
              I will continue to review my notes in order to be able to identify the
              topic that you are referencing and you are not actually telling me.

              Plaintiffs’ Counsel: Sir, is it the case — was it the case in the 1999-
              2001 time period that if EMOI became aware of credible
              information that the military guards at Arun Field threatened or
              harmed EMOI’s own employees, EMO I’s policy was to take a
              series of steps to address this?

              Defense Counsel: Objection.

              Witness: So I believe I’ve responded to this topic previously,
              because this is topic 3(k) and 3(1). I’m happy to respond to this topic
              again.

              Plaintiffs’ Counsel: Sir, I want you to answer the question that I’m
              asking, please. The question is —

              Witness: As I explained it earlier, EMOI had systems and practices
              in place to report all incidences relating to safety, health and


                                                26
       Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 27 of 56




               environmental issues, which of course would capture allegations of
               physical abuses or human rights abuses. In the course of preparing
               for this deposition, I have seen documents that report such security
               incidents on a weekly or daily basis during the relevant time period.
               The number and frequency appears to be dependent on the state of
               the civil war at the time. The incidences reported appear to capture
               violence inflicted on both sides of the war, against GAM, against
               soldiers, and against civilians. The reports were generally made
               from EMOI employees or security advisors in the Arun Field
               facilities to EMOI management, who then elevated the incidences
               to Pertamina, the military, the government of Indonesia. EMOI
               management requested investigation or discipline, as appropriate.
               EMOI was not in a position to investigate allegations of abuses in
               Aceh as a civilian contractor operating in a war zone. EMOI had no
               ability to investigate any allegations of misconduct against the
               military or against GAM. Often the allegations appeared to be
               nothing more than rumors. The only option for EMOI was to report
               the incident to official authorities and request that they take
               appropriate action. With respect to topic 3(l), in preparing for this
               deposition, I did not see any complaints made about the behavior of
               any EMOI security employees. In respect to Indonesian military
               assigned by Pertamina to protect the Arun Field facilities, they were
               not EMOI security personnel. Even so, I did see in a few instances
               that when specific complaints about an Indonesian soldier regarding
               the7 facility were brought to EMOI’s attention, EMOI’s practice
               was to report the allegation up the chain to management, up to and
               including Ron Wilson, who was the country manager at the time.
               Ron Wilson would then raise the complaint with Pertamina or the
               military, as appropriate, and this was the proper channel under the
               PSC. I saw one instance where EMOI responded to — where the
               military responded to EMOI’s complaint about a particular soldier
               by reassigning the soldier. I did not see any other instances where
               Pertamina or the military responded to EMOI’s complaints, but I
               would note that my review was limited to the information outside of
               Indonesia, per your notice. Also, EMOI did conduct a legal
               investigation that we have covered.

               Plaintiffs’ Counsel: I will move to strike as nonresponsive.

Snell Tr. 90:5–94:14. Mr. Pierson asked a yes-or-no question. Mr. Snell provided a 398-word

response. At best, the first sentence evasively responded to part of Mr. Pierson’s question. But

the defendants’ claim that the answer fit a pattern in which “[e]very aspect of Mr. Snell’s answer




                                                27
         Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 28 of 56




was directly responsive to the question posed,” see Defs.’ Opp’n/Cross-Mot. 30–31, is simply not

true.

        In another example, Mr. Pierson moved to strike a wholly non-responsive answer. See

Snell Tr. 217:7–17 (question about whether reporter had communicated information to EMOI

management in the summer of 2000; answer about the contents of reporter’s email)

        Looking at each of the motions to strike Mr. Pierson made in the deposition, the Court finds

a single instance in which he sought to strike a responsive answer.12 Even that time, part of Mr.

Snell’s answer was nonresponsive:

                 Mr. Pierson: Have you read [Individual 7’s] testimony about Exxon
                 soldiers from Cluster II beating and shooting [Individual 8] in the
                 year 2000?

                 Ms. Oh: Objection, no foundation.

                 Mr. Snell: So, again, you know, EMOI has no knowledge of any
                 facts whatsoever relating to any alleged events impacting any of the
                 plaintiffs or their deceased relatives. So, I mean, and, again, I have
                 read extensive materials in preparation for this deposition,
                 transcripts, so on and so forth. I don’t specifically recollect specific
                 allegations that you are referencing.

                 Mr. Pierson: I will move to strike as nonresponsive.

Snell Tr. 135:21–136:14 (emphasis added).                 While Mr. Snell provided some impertinent

information, he also responded to the question by informing Mr. Pierson that he did not recall

reading the testimony. That single example of an improper objection, however, is hardly comes

close to meriting sanctions.




12
  The Appendix may appear to demonstrate additional examples of motions to strike responsive answers because the
Court credited Mr. Snell for a responsive answer if he provided one at any point. For example, if Mr. Pierson asked
a question, Mr. Snell answered nonresponsively, Mr. Pierson moved to strike the answer and reposed the question,
and Mr. Snell then answered responsively, that answer would be categorized as responsive. See, e.g., Appendix 13a
(question 187); see also Dep. Tr. 217:7–25.



                                                        28
       Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 29 of 56




               (iii)Improper Questions

       When an attorney repeatedly asks questions that the witness has already answered, he

frustrates the deposition. See E.E.O.C. v. Freeman, 288 F.R.D. 92, 103 (D. Md. 2012). But the

same is not true if the question has been asked but not answered.

       The defendants object to the number of times Mr. Pierson asked Mr. Snell whether he was

reading from his notes and who wrote his notes. Defs.’ Opp’n/Cross Mot. 31. The problem with

that objection is that Mr. Snell never answered either question. See Snell Tr. 30:8–31:20, 59:8–

63:25, 64:2–73:13, 94:15–96:20, 99:5–100:5, 113:20–114:3, 124:13–17, 133:16–19, 142:2–21,

172:25–174:8, 226:2–228:25, 283:6–15, 293:5–296:9, 294:10–295:15, 319:20–320:10. “Are you

reading your answer?” is a yes-or-no question. Avoiding answering it by claiming to use notes as

“an aide-mémoire” provide an evasive and nonresponsive answer. So does responding to the

question “who wrote your notes?” by saying “The documents were word processed by counsel.”

Snell Tr. 66:22–23. The conduct that the defendants object to just highlights how Mr. Snell

impeded the deposition.

       Because Mr. Snell never answered either question, Mr. Pierson was entitled to pursue a

response. Asking those two questions repeatedly was not improper.

       3. Cancelation of ExxonMobil Corporation Deposition

       If the party noticing a deposition cancels it unilaterally, it must give appropriate notice to

the other party. Failure to do so may result in sanctions. Donini Int’l, S.P.A. v. Satec (U.S.A.),

LLC, No. 03-cv-9471-CSH, 2006 WL 695546, at *7 (S.D.N.Y. Mar. 16, 2006). What notice is

appropriate depends on the circumstances of cancellation. See Hudson v. L & W Supply Corp.,

No. H-08-cv-2471, 2009 WL 1941498, at *3–5 (S.D. Tex. July 2, 2009).




                                                29
       Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 30 of 56




       The defendants argue that the plaintiffs gave inadequate notice when they cancled the Rule

30(b)(6) deposition of ExxonMobil Corporation’s designated representative—Mr. Snell. See

Defs.’ Opp’n/Cross Mo. 31–32; Defs’ Reply 15–17.

       As the defendants note, the plaintiffs canceled the deposition hours after the EMOI

deposition ended. Defs.’ Reply 15. That left the ExxonMobil three days to respond to the

cancelation. Id. The plaintiffs stated that they were postponing the deposition to allow them time

to bring the defendants’ conduct in the EMOI deposition before the Court. See Pls.’ Mot., Ex. P.

Given the conduct detailed at length in this opinion and given that Mr. Snell would be the witness

for ExxonMobil, the Court cannot say that the plaintiffs’ decision was unreasonable. Taking

another deposition like the EMOI one would waste everyone’s time. The plaintiffs had no reason

to believe the ExxonMobil deposition would have proceeded any differently. And they gave

ExxonMobil notice within hours of the conclusion of the EMOI deposition.                 Given the

circumstances, that notice was reasonable.

                                               ***

       In short, none of the defendants’ allegations of misconduct stand up to scrutiny. Their

motion for sanctions, therefore, must be denied.

   D. Allegations about Opposing Counsel in the Defendants’ Filings

       In their filings in support of their cross-motion and in opposition to the defendants’ motion,

the defendants make many allegations about Mr. Pierson’s demeanor. The defendants say:

           •   Mr. Pierson was “agitated and combative.” Id. at 12 (citing Snell Tr. 47:16–25,

               75:6–13, 207:10–210:2, 322:10–17), 13 (citing Snell Tr. at 34:9–22).

           •   Mr. Pierson “lashed out at the witness.” Id. at 21 & n.20 (citing Snell Tr. 41:9–

               42:18; 47:16–48:25; 75:6–76:22).




                                                30
         Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 31 of 56




             •    Mr. Pierson was neither calm nor professional but rather “became unhinged . . . and

                  repeatedly attacked and baselessly threatened to seek sanctions against the witness

                  and counsel.” Id. at 21 n.20 (citing Snell Tr. 32:19–34:22; 51:20–57:7; 143:20–

                  144:5).

             •    Mr. Pierson engaged in “browbeating and disrespectful behavior.” Id. at 21 n.20

                  (citing Snell Tr. 56:19–59:5, 64:2–70:1, 80:11–81:25).

             •    Mr. Pierson became “indignant and adversarial.” Id. at 32.

             •    Mr. Pierson became “agitated and aggressive.” Defs.’ Reply at 11.

             •    Mr. Pierson “demonstrated a general lack of respect towards a professional

                  adversary.” Id. at 16–17 (citing Snell Tr. 26:2–27:3, 29:24–32:18, 34:6–38:6,

                  174:9–175:6, 184:4–185:13, 207:17–209:14).

         Upon thorough review of both the transcript and video of the deposition, the Court cannot

locate support for these claims.13 There are three instances on the video when Mr. Pierson raises

his voice to speak over Ms. Oh and ask her not to interrupt him. See 1 Snell Video 19:56–59

(raising his voice to say, “Alex, stop interrupting”); 3 Snell Video 24:05–085 (raising his voice to

say, “Alex, let me finish. Let me finish please.”); 4 Snell Video 1:24–28 (raising his voice to say,

“Alex, please don’t interrupt me Alex.”). At no other point during the video does Mr. Pierson raise

his voice. By all indications,14 he maintained a calm demeanor throughout the deposition. That

includes moments when Ms. Oh accused him on the record of being unprofessional or of shouting.


13
  By enumerating the times when the Court has found statements about Mr. Pierson without support in the record, the
Court does not suggest that all other statements in the defendants’ pleadings are accurate. Compare, e.g., Defs.’ Reply
13–14 (“[T]he questioning attorney did not pose any questions about the referenced exhibits beyond whether he read
from them accurately . . . .”), with, e.g., Snell Tr. 358:9–359:20 (asking follow-up questions about notice boards
reference in exhibit). Rather, the Court focuses on the statements about Mr. Pierson because it recognizes the
pernicious danger posed by attacks on an attorney’s integrity.
14
  The video of the deposition does not show Mr. Pierson’s face or body, so the Court must rely only on audio to
characterize his conduct.



                                                         31
              Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 32 of 56




      See 1 Snell Video 24:24–25:18; 4 Snell Video 0:35–1:45. Thus, the record does not support the

      allegations defense counsel made in their filings.

              An attorney may not file a document in a civil case unless he has made a reasonably inquiry

      and believes that “the factual contentions have evidentiary support.” See Fed. R. Civ. P. 11(b)(3).

      Because none of the evidence the defendants have cited supports their claims about Mr. Pierson’s

      demeanor and because the Court can locate no support for those claims in the record, the Court

      has reason to believe that defense counsel violated Rule 11(b)(3). For that reason, the Court will

      order Ms. Oh and Paul, Weiss, Rifkind, Wharton & Garrison LLP to show cause why it should not

      impose Rule 11 sanctions on them.15 See Fed. R. Civ. P. 11(b)(3), (c)(1), (c)(3).

IV.        CONCLUSION

              The stakes in this case are high for both parties. The plaintiffs allege that the defendants

      are responsible for atrocities. The defendants have been accused of complicity in heinous acts

      and, if found responsible, could be liable for millions of dollars in damages. Highs stakes naturally

      lead the parties—and their counsel—to seek whatever marginal advantages they can. But whoever

      prevails here will do so based on the law and the fully developed record, not discovery games.

              The Court implores counsel to conduct themselves in a manner befitting their profession.

      For the law is a noble profession. “With all their faults, [lawyers] stack up well against those in

      every other profession. They are better to work or play with or fight with or drink with than most

      other varieties of mankind.” Harrison Tweed, Address Accepting the Presidency of the New York

      City Bar Association (May 10, 1945). But that only remains true when attorneys uphold their




      15
        The Court retains jurisdiction to issue that order despite Ms. Oh’s withdrawal. See Lepuki v. Van Wormer, 765
      F.2d 86, 87 n.1 (7th Cir. 1985); see also Joseph, supra §§ 5(E)(2), 17(B)(1).



                                                             32
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 33 of 56



ethical obligations. See Alexander, 186 F.R.D. at 53 (quoting Model Code of Professional

Responsibility Preamble (1980)). Counsel should behave accordingly.

       Based on the foregoing, by separate order the Court will GRANT the plaintiffs' motion to

compel and for sanctions and DENY the defendants' motion for sanctions.



 Date: - - -- - - - -                                           Royce C. Lamberth
                                                                United States District Judge




                                             33
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 34 of 56




                                       APPENDIX

                    QUESTIONS POSED IN SNELL DEPOSITION

     Paraphrased Question                Type          Answer      Citation
1. How are you today?             Preliminary     Responsive    4:18–19
2. Could you state your full      Preliminary     Responsive    4:20–23
name for the record?
3. Are you testifying this        Preliminary     Responsive    4:24–5:4
morning from Singapore?
4. Is the date in Singapore is    Preliminary     Responsive    5:3–5
February 15th, 2021?
5. Do you understand that you     Preliminary     Responsive    5:6–8
are under oath today?
6. Do you understand that the     Preliminary     Responsive    5:9–12
video of your testimony today
may be presented to a jury at
trial?
7. Are you represented by three   Preliminary     Responsive    5:13–14
attorneys today?
8. Do the lawyers representing    Preliminary     Responsive    5:16–18
you today include Ms. Oh?
9. And include Mr. Conlon from    Preliminary     Responsive    5:19–21
Exxon Mobil Corporation?
10. And include Emily Cox?        Preliminary     Responsive    5:22–23
11. Do you understand the         Preliminary     Responsive    6:25–7:11
acronym EMOI?
12. Do you understand the         Preliminary     Responsive    7:12–15
acronym MOI?
13. Do you understand how         Preliminary     Responsive    7:16–21
objections work?
14. Who is your current           Preliminary     Responsive    7:22–25
employer?
15. What is your job?             Preliminary     Responsive    8:2–4
16. Are you an attorney?          Preliminary     Responsive    8:5–6
17. How long have you been in     Preliminary     Responsive    8:7–9
that position at ExxonMobil
Asia Pacific?
18. Were you working for          Preliminary     Responsive    8:10–14
Exxon Mobil before that?
19. Have you ever worked in       Preliminary     Responsive    8:15–25
Jakarta or Aceh, Indonesia?
20. When did you work in          Preliminary     Responsive    9:2–4
Jakarta?




                                            1a
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 35 of 56




21. Do you understand that the       Preliminary         Responsive      9:8–11
defendants have asked you to
testify as EMOI’s corporate
representative today?
22. Is it the case that later this   Preliminary         Responsive      9:12–16
week you will appear as the
corporate representative for the
other defendant, Exxon Mobil
Corporation?
23. Have you read the notice of      Preliminary         Responsive      9:17–22
deposition?
24. Have you reviewed the list       Preliminary         Responsive      10:4–10
of topics?
25. Have you read the                Preliminary         Responsive      10:11–16
instructions?
26. How long ago did you begin       Preliminary         Responsive      10:21–23
preparing for this deposition?
27. How many meetings or calls       Preliminary         Responsive      10:24–11:6
have you had to prepare?
28. When were those meetings         Preliminary         Responsive      11:7–12
or calls?
29. Were those meetings by           Preliminary         Responsive      11:17–20
Zoom, phone, or in person?
30. Have you reviewed records?       Preliminary         Responsive      12:2–11
31. Did you review any records       Preliminary         Responsive      12:12–16
other than those the defense
team chose to show you?
32. Do you understand terms          Preliminary         Responsive      12:17–13:3
Exxon Mobil Corp., Mobil
Corp., and EMC?
33. Do you understand terms          Preliminary         Responsive      13:4–11
Exxon and Exxon Mobil?
34. Do you understand an             Preliminary         Nonresponsive   13:12–18
example about Exxon as term?                             (Evasive)
35. Do you understand the            Preliminary         Responsive      13:19–25
relevant time period?
36. Do you understand the term       Preliminary         Responsive      14:2–6
relevant time period?
37. Do you understand terms          Preliminary         Responsive      14:7–15:20
defined on pages 2–3 of notice?
38. Is the shaded area on the        Record/Foundation   Responsive      17:18–18:6
map the Arun Field?
39. Did EMOI have operations         Substantive         Responsive      18:7–13
in the circled area?
40. Is that known as the remote      Substantive         Responsive      18:14–17
area?


                                               2a
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 36 of 56




41. Is that where PASE and SLS      Substantive         Responsive        18:18–24
EMOI operations were located?
42. Did EMOI have many office       Substantive         Responsive        18:25–19:4,
buildings at Point A?                                                     23:7–12
43. Do you see Point A?             Record/Foundation   Responsive        22:19–22
44. Do you see Clusters II and      Record/Foundation   Responsive        22:22–23:6
III?
45. Do you see A1?                  Record/Foundation   Responsive        23:13–17
46. Is A1 across from Cluster       Record/Foundation   Lacks Knowledge   23:18–22
III?
47. Do you see A13?                 Record/Foundation   Nonresponsive     23:23–24:9
                                                        (Evasive)
48. Is A13 to the east of Cluster   Substantive         Responsive        24:10–23
III?
49. Is Bachelor Camp down the       Record/Foundation   Responsive        24:24–25:3
road?
50. Did EMOI take steps to          Substantive         Nonresponsive     25:22–29:23
make sure that senior
management was informed
about the human rights record of
the Indonesian military in Aceh?
51. Are you reading your            Substantive         Nonresponsive     30:8–17,
answer?                                                                   59:8–63:25,
                                                                          68:25–69:7,
                                                                          94:15–95:12,
                                                                          98:25–99:12,
                                                                          113:20–
                                                                          114:3,
                                                                          124:13–17,
                                                                          133:16–19,
                                                                          142:2–21,
                                                                          172:24–
                                                                          174:8, 226:2–
                                                                          228:12,
                                                                          283:6–9,
                                                                          293:5–15,
                                                                          294:10–
                                                                          295:15,
                                                                          319:20–320:3
52. Did counsel write your          Substantive         Nonresponsive     30:11–31:16,
statement?                                                                64:2–68:24,




                                              3a
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 37 of 56




                                                                  69:9–73:13,
                                                                  95:13–96:20,
                                                                  99:13–
                                                                  100:11,
                                                                  228:13–
                                                                  229:25,
                                                                  283:10–15,
                                                                  295:16–
                                                                  296:9, 320:4–
                                                                  10
53. Did EMOI take steps to         Substantive    Nonresponsive   32:3–34:8
make sure that senior
management was informed
about the human rights record of
the Indonesian military in Aceh?
54. Did EMOI take steps to         Substantive    Responsive      37:16–45:3
inform senior management of
the information published by the
State Department every year
about human rights practices in
Indonesia?
55. Was EMOI’s senior              Substantive    Nonresponsive   45:4–46:11
management informed that the
State Department’s 1998 report
for Indonesia had reported that
in Aceh there were credible
reports of mass graves and
killings carried out by the
security forces in the past and
into 1998?
56. Was EMOI’s senior              Substantive    Nonresponsive   46:12–51:19
management informed of the
State Department report about
investigations of mass graves,
extrajudicial killings,
disappearances, rape and torture
in Aceh during 1989 to 1991 and
1997 to 1998?
57. Did EMOI’s senior              Substantive    Nonresponsive   51:25–56:18
management have knowledge of
the information that was
provided in the State
Department’s Indonesia country
report on human rights practices
for 1998?




                                             4a
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 38 of 56




58. Have you testified as a        Preliminary         Responsive          74:7–9
30(b)(6) witness before?
59. Do you recall testifying       Record/Foundation   Responsive          74:10–16
about a 1998 Business Week
article?
60. Did Michael Shari give MOI     Substantive         Lacks Knowledge     74:17–24
information about military’s use
of mass graves and mass
executions in Aceh, before
publication?
61. Who at Mobil investigated      Substantive         Lacks Knowledge     74:25–82:23
the information Shari provided
about mass executions and
graves?
62. Who performed the legal        Substantive         Lacks Knowledge     83:21–84:9
investigation?
63. When was the legal             Substantive         Nonresponsive       84:10–86:10
investigation performed?
64. Who was interviewed?           Substantive         Instructed Not To   86:11–16
                                                       Answer
65. Was a report prepared?         Substantive         Instructed Not To   86:17–20
                                                       Answer
66. Independent of the legal       Substantive         Lacks Knowledge     87:1–90:4
investigation, did MOI
investigate information Shari
provided?
67. If EMOI became aware of        Substantive         Nonresponsive       90:5–94:12
credible information that the
military threatened or harmed
EMOI’s own employees, was it
EMOI’s policy to take steps to
address that?
68. Do you remember I asked        Record/Foundation   Responsive          97:5–8
you questions earlier about A1?
69. Have you reviewed              Record/Foundation   Nonresponsive       97:9–98:22
testimony of [Individual 1]
about torture at A1?
70. Have you reviewed              Record/Foundation   Responsive          100:12–18
testimony of [Individual 1]
about beating at A1?
71. Have you reviewed              Record/Foundation   Nonresponsive       100:19–25
testimony of [Individual 1]
about beating with rifle?
72. In March 2000, was EMOI        Substantive         Nonresponsive       101:2–102:9
aware of torture of detainees in
Aceh?


                                             5a
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 39 of 56




73. Did EMOI take any steps to      Substantive         Nonresponsive     102:10–
determine if guards used by                                               104:12
EMOI were responsible for
torture of [Individual 1]?
74. Are you aware of evidence       Substantive         Responsive        104:13–21
that anyone other than soldiers
assigned to EMOI operations
were responsible for torture of
[Individual 1]?
75. Are you aware if [Individual    Substantive         Lacks Knowledge   104:22–105:3
1] had connections to GAM?
76. Did EMOI make a complaint       Substantive         Nonresponsive     105:4–106:2
about torture of [Individual 1]?
77. Did EMOI request                Substantive         Nonresponsive     106:3–15
investigation about torture of
[Individual 1]?
78. Did EMOI investigate            Substantive         Nonresponsive     106:16–24
torture of [Individual 1]?
79. Are you aware whether           Substantive         Nonresponsive     106:25–
EMOI did anything to address                                              107:11
torture of [Individual 1]?
80. Is Point A a fenced area with   Substantive         Nonresponsive     107:19–23
offices?                                                (Evasive)
81. Were a substantial number       Substantive         Nonresponsive     107:24–108:5
of military guards assigned to
Point A?
82. Have you read testimony of      Record/Foundation   Nonresponsive     108:9–109:3
[Individual 2]?
83. Have you read testimony         Record/Foundation   Responsive        109:4–9
about cuts and burns on
[Individual 3]?
84. Have you read testimony         Record/Foundation   Nonresponsive     109:10–
about [Individual 3]’s                                                    109:24
electrocution and burning?
85. Was EMOI management             Substantive         Nonresponsive     109:25–
aware of information from the                                             111:11
State Department that the
Indonesian military had used
cigarettes to burn someone they
were interrogating?
86. Was EMOI management             Substantive         Nonresponsive     111:12–22
aware of information that the
Indonesian military had used
electrocutions during
interrogations?



                                              6a
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 40 of 56




87. Did EMOI take any steps to     Substantive         Responsive      111:23–
determine which soldiers                                               113:19
deployed for EMOI operations
were responsible for torture of
[Individual 3]?
88. Are you aware of evidence      Substantive         Responsive      114:4–115:2
that anyone other than soldiers
assigned to EMOI operations
were responsible for torture of
[Individual 3]?
89. Are you aware if [Individual   Substantive         Responsive      115:3–11
3] had connections to GAM?
90. Did EMOI make a complaint      Substantive         Nonresponsive   115:12–20
about torture of [Individual 3]?
91. Did EMOI investigate           Substantive         Nonresponsive   115:21–
torture of [Individual 3]?                                             116:4,
                                                                       116:24–
                                                                       117:19
92. Are you aware whether          Substantive         Responsive      116:5–23
EMOI did anything to address
torture of [Individual 3]?
93. Were military guards           Substantive         Responsive      117:23–
assigned to Cluster IV?                                                118:11,
                                                                       118:16–22
94. Did EMOI have gas wells at     Substantive         Responsive      118:12–15
Cluster IV?
95. Have you read [Individual      Record/Foundation   Responsive      118:23–119:5
4]’s testimony about beatings
near Cluster IV?
96. Have you read [Individual      Record/Foundation   Responsive      119:6–120:4
4]’s testimony about 51 days of
torture?
97. Have you read testimony of     Record/Foundation   Responsive      120:5–17
[Individual 5]?
98. Did EMOI take any steps to     Substantive         Nonresponsive   120:18–121:3
identify soldiers who beat
[Individual 4]?
99. Are you aware of evidence      Substantive         Responsive      121:4–12
that anyone other than soldiers
assigned to EMOI operations
were responsible for beating of
[Individual 4]?
100. Are you aware if              Substantive         Responsive      121:13–17
[Individual 4] had connections
to GAM?



                                             7a
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 41 of 56




101. Did EMOI make a               Substantive         Nonresponsive     121:18–
complaint about beating of                                               123:21
[Individual 4]?
102. Did EMOI investigate          Substantive         Nonresponsive     123:22–
beating of [Individual 4]?                                               124:12,
                                                                         124:18–
                                                                         125:17
103. Did MOI install CCTV at       Substantive         Lacks Knowledge   125:18–127:2
Cluster IV?
104. Have you read [Individual     Record/Foundation   Responsive        127:3–128:3
6]’s testimony about being taken
by soldiers near Cluster IV?
105. Have you read [Individual     Record/Foundation   Responsive        128:4–129:9
6]’s testimony about being taken
to A13?
106. Have you read [Individual     Record/Foundation   Responsive        129:10–
6]’s testimony about 24 days of                                          130:18
torture?
107. Did EMOI take any steps to    Substantive         Nonresponsive     130:19–132:8
identify soldiers who beat
[Individual 6]?
108. Did EMOI investigate          Substantive         Responsive        132:9–133:14
beating of [Individual 6]?
109. Are you aware of evidence     Substantive         Responsive        133:20–134:4
that anyone other than soldiers
assigned to EMOI operations
were responsible for beating of
[Individual 6]?
110. Are you aware if              Substantive         Responsive        134:5–12
[Individual 6] had connections
to GAM?
111. Did EMOI investigate          Substantive         Responsive        134:13–24
torture of [Individual 6]?
112. Did EMOI operate wells at     Substantive         Responsive        135:6–9
Cluster II?
113. Were military guards          Substantive         Responsive        135:10–16
assigned to Cluster II?
114. Have you read testimony of    Record/Foundation   Responsive        135:21–137:5
[Individual 7] about beating and
shooting of [Individual 8] by
Cluster II soldiers?
115. Have you read testimony of    Record/Foundation   Responsive        137:6–13
[Individual 22] about beating
and shooting of [Individual 8]
by Cluster II soldiers?



                                             8a
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 42 of 56




116. Did EMOI take any steps to     Substantive         Responsive        137:14–139:4
identify soldiers who shot and
beat [Individual 8]?
117. Did EMOI review CCTV           Substantive         Lacks Knowledge   139:4–23
footage at Cluster II?
118. Are you aware of evidence      Substantive         Lacks Knowledge   139:24–141:2
that EMOI or MOI ever used
CCTV to monitor guards?
119. Are you aware of evidence      Substantive         Responsive        141:3–25
that anyone other than soldiers
assigned to EMOI operations
were responsible for beating and
shooting of [Individual 8]?
120. Did EMOI investigate           Substantive         Responsive        142:23–
beating and shooting of                                                   143:10
[Individual 8]?
121. Did EMOI request an            Substantive         Responsive        144:14–146:7
investigation of the beating and
shooting of [Individual 8]?
122. Did EMOI have facilities at    Substantive         Responsive        146:25–
Bachelor Camp?                                                            147:11
123. Were military guards           Substantive         Nonresponsive     147:12–
assigned to Bachelor Camp?                              (Evasive)         148:13
124. Did you read testimony of      Record/Foundation   Nonresponsive     148:14–23
[Individual 9] about shots fired
from Bachelor Camp?
125. Did you read testimony of      Record/Foundation   Nonresponsive     148:24–
[Individual 9] about his beating?                                         149:12
126. Did you read testimony of      Record/Foundation   Responsive        149:13–21
[Individual 9] about motionless
bodies?
127. Did you read testimony of      Record/Foundation   Responsive        149:22–150:3
[Individual 22] about never
seeing her husband [Individual
10] after the shooting?
128. Are you aware of any steps     Substantive         Responsive        150:4–22
EMOI took to investigate
actions of Bachelor Camp
soldiers?
129. Are you aware of evidence      Substantive         Nonresponsive     150:23–
that anyone other than soldiers                         (Evasive)         151:10
assigned to EMOI operations
were responsible for shooting of
[Individual 10]?




                                              9a
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 43 of 56




130. Are you aware if               Substantive         Responsive        151:11–15
[Individual 9] or [Individual 10]
had connections to GAM?
131. Did EMOI request an            Substantive         Nonresponsive     151:18–25
investigation of the beating and
shooting of shootings near
Bachelor Camp?
132. Did EMOI monitor CCTV          Substantive         Lacks Knowledge   152:2–11
near Bachelor Camp?
133. Was anyone at EMOI             Substantive         Nonresponsive     153:2–11
assigned to monitor guards near
Bachelor Camp?
134. Do you see that your           Record/Foundation   Responsive        155:14–20
attorneys prepared Exhibit 4?
135. Do you see footnote 1 in       Record/Foundation   Responsive        156:2–23
Exhibit 4?
136. Do you see a reference to      Record/Foundation   Responsive        156:24–157:4
Maman Budiman?
137. Was Budiman an EMOI            Substantive         Responsive        157:5–18
employee?
138. Do you see listing of          Record/Foundation   Nonresponsive     157:19–158:9
information Budiman has?                                (Evasive)
139. Did you speak to Budiman       Record/Foundation   Responsive        158:10–
to prepare for this deposition?                                           159:8,
                                                                          159:12–18
140. Which EMOI employees           Record/Foundation   Responsive        159:9–11
did you meet with?
141. Did you try to reach out to    Record/Foundation   Responsive        159:20–
Budiman?                                                                  160:11,
                                                                          161:20–
                                                                          162:21
142. Is there any reason you        Record/Foundation   Nonresponsive     160:12–161:3
couldn’t have spoken to
Budiman?
143. You have had six months        Preliminary         Responsive        161:4–19
to prepare for this deposition?
144. You only got the               Record/Foundation   Responsive        162:22–164:5
information about Budiman
from the defense team?
145. Does Tommy Chong live in       Record/Foundation   Lacks Knowledge   164:6–15
Singapore?
146. Did you try to call Chong?     Record/Foundation   Responsive        164:16–165:6
147. Is there any reason you        Record/Foundation   Nonresponsive     165:7–21
couldn’t have spoken to Chong?




                                             10a
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 44 of 56




148. You only got the              Record/Foundation   Nonresponsive   165:22–
information about Chong from                                           166:22
the defense team?
149. Did you think it would be     Record/Foundation   Nonresponsive   166:23–167:9
helpful to call Chong?
150. Did you talk to Neil          Record/Foundation   Responsive      167:12–25
Duffin?
151. Did you speak to Mr.          Record/Foundation   Nonresponsive   168:2–17
Farmer?                                                (Evasive)
152. Has Chong been deposed?       Record/Foundation   Responsive      168:21–24
153. Did the lack of a Chong       Record/Foundation   Responsive      168:24–
deposition make you think that                                         169:11
you should talk to him?
154. Are you testifying that       Substantive         Nonresponsive   169:12–
Chong had only incidental                                              172:21
involvement in Aceh issues?
155. Do you see Ahmad Judin        Record/Foundation   Responsive      176:9–13
identified as a knowledgeable
person?
156. Have you made an effort to    Record/Foundation   Nonresponsive   176:9–21
talk to Judin?                                         (Evasive)
157. Have you spoken to Judin      Record/Foundation   Responsive      176:22–177:2
in the last six months?
158. Have you tried to talk to     Record/Foundation   Responsive      177:3–9
Mr. Thahir?
159. Until the end of 1999, was    Substantive         Responsive      177:16–20
Farmer the global security
manager for Mobil?
160. Did Farmer work for Mobil     Substantive         Responsive      177:24–178:4
Business Resources Corp.?
161. When Exxon and Mobil          Substantive         Responsive      178:5–179:14
merged, did Farmer become
global security manager for
EMC?
162. Does the heading on the       Record/Foundation   Responsive      190:5–11
chart in Exhibit 5 read Exxon
Mobil Corporation Security —
International?
163. Were there business centers   Substantive         Nonresponsive   190:12–17
under Exxon Mobil Corporation                          (Evasive)
Security — International?
164. Was one of those business     Substantive         Responsive      190:18–
centers in Singapore?                                                  191:10
165. Was Oh Chee Khoon the         Substantive         Responsive      191:13–17
manager for the Singapore
Security Business Center?


                                            11a
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 45 of 56




166. Is the reference on the chart   Record/Foundation   Responsive        191:18–20
to T. Chong a reference to
Tommy Chong?
167. Was Chong a security            Substantive         Nonresponsive     191:21–192:6
advisor for the Singapore                                (Evasive)
Security Business Center?
168. Who owned MAPPL?                Substantive         Responsive        192:7–194:15
169. Was K. Jayadev part of the      Substantive         Nonresponsive     194:23–
Singapore Security Business                              (Evasive)         195:17
Center?
170. Why is the Singapore            Substantive         Nonresponsive     195:18–196:4
Security Business Center listed
under Exxon Mobil Corporation
Security — International?
171. Do you see A. Wong on the       Record/Foundation   Responsive        196:5–16
chart?
172. Was Adrian Wong a               Substantive         Lacks Knowledge   196:17–21
security advisor for the
Singapore Security Business
Center?
173. Was Jack Connor a security      Substantive         Responsive        196:22–25
advisor for the Singapore
Security Business Center?
174. Who employed Connor?            Substantive         Nonresponsive     197:2–200:23
175. Was Connor ever employed        Substantive         Nonresponsive     201:5–204:22
by MAPPL?
176. Did Connor start working        Substantive         Lacks Knowledge   204:23–
for EMOI only in April 2000?                                               205:11
177. Prior to 2000, was Connor       Substantive         Responsive        205:12–19
an employee or agent of the
Singapore Security Business
Center?
178. In July 2000 did Exxon’s        Substantive         Nonresponsive     207:10–
senior management in the                                                   212:20
United States and Aceh receive
information from a reporter
about four villagers who said
they were tortured by Indonesian
troops at A13?
179. Is Exhibit 6 an email           Record/Foundation   Responsive        214:20–215:2
forwarding information provided
by Jay Solomon of the Wall
Street Journal?
180. Is Ron Wilson a recipient       Record/Foundation   Responsive        215:3–11
of Exhibit 6?



                                              12a
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 46 of 56




181. Is Mike Farmer a recipient      Record/Foundation   Responsive      215:12–14
of Exhibit 6?
182. Is Chee Khoon Oh a              Record/Foundation   Responsive      215:15–17
recipient of Exhibit 6?
183. Does Exhibit 6 bear a           Record/Foundation   Responsive      215:18–23
legend restricting further
dissemination?
184. Does Solomon say that he        Record/Foundation   Responsive      216:12–18
has spoken to four people who
say they were tortured by
Indonesian troops at A13?
185. Does Solomon say that he        Record/Foundation   Responsive      216:16–24
has spoken to people who had to
flee their villages because of
military sweeps?
186. Does Solomon say that the       Record/Foundation   Responsive      216:25–217:6
military explained the sweeps as
protecting Mobil installations?
187. Did Solomon provide this        Record/Foundation   Responsive      217:7–25
information to EMOI
management in the summer of
2000?
188. Was this information            Record/Foundation   Nonresponsive   218:2–9
forwarded to Exxon                                       (Evasive)
management and EMOI
management?
189. Does Connor say that the        Record/Foundation   Responsive      218:10–
Wall Street Journal is preparing                                         219:15
to run a negative article about
the military’s role in Aceh and
ties to Exxon?
190. Has it been shared so that      Substantive         Responsive      219:16–220:3
management in the US and
Indonesia are aware the article is
coming and can take a close
look at it?
191. Did EMOI’s management           Substantive         Responsive      221:23–222:7
read the article?
192. Was it brought to the           Substantive         Nonresponsive   222:11–
attention of EMOI senior                                                 225:17,
management in 2000 that some                                             230:4–233:11
villagers claimed they were
abused by troops assigned to
Mobil duty including troops
from A13?



                                              13a
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 47 of 56




193. Are you giving an answer       Preliminary         Responsive      225:18–23
that is identical word-for-word
to a previous answer?
194. Have you read testimony of     Record/Foundation   Responsive      238:3–239:9
[Individual 11] that he saw
[Individual 12] shot, beaten, and
taken away by soldiers?
195. Have you read testimony of     Record/Foundation   Responsive      239:15–20
[Individual 11] that he knew
many of the soldiers because
they ate together at Bachelor
Camp?
196. Have you read testimony of     Record/Foundation   Responsive      239:21–
[Individual 11] that he reported                                        240:4, 241:7–
to an Exxon supervisor that                                             11
[Individual 12] had been shot?
197. Are you aware of any           Substantive         Nonresponsive   240:5–14
evidence that [Individual 12]
had any involvement with
GAM?
198. After [Individual 11]          Substantive         Nonresponsive   240:18–
reported the shooting of                                (Evasive)       241:3,
[Individual 12], are you aware of                                       241:12–242:4
any steps that EMOI took to
investigate?
199. Have you read testimony of     Record/Foundation   Nonresponsive   242:5–16
[Individual 11] that he saw
soldiers instruct [Individual 13]
to dig a ditch?
200. Have you read testimony of     Record/Foundation   Nonresponsive   242:17–24
[Individual 11] that he saw
people taken to the ditch and
buried alive?
201. Have you read testimony of     Record/Foundation   Nonresponsive   242:25–243:3
[Individual 11] that he saw
soldiers shoot [Individual 13]
when he refused to dig a second
ditch?
202. Are you aware of whether       Substantive         Responsive      243:6–9,
[Individual 11] reported these                                          243:24–244:8
events to Reza Kota?
203. Are you aware of any steps     Substantive         Responsive      243:10–23,
EMOI took to investigate the                                            244:9–245:2
events [Individual 11] reported?




                                             14a
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 48 of 56




204. Did Cluster IV have an         Substantive         Nonresponsive     245:12–17
entrance gate and was it
surrounded by a fence?
205. In December 2000, was          Substantive         Nonresponsive     245:18–246:4
Cluster IV guarded by a large
number of soldiers?
206. Did you review testimony       Record/Foundation   Nonresponsive     246:5–12
of [Individual 14] about
[Individual 15]?
207. Have you read testimony of     Record/Foundation   Nonresponsive     246:13–18
[Individual 14] about a military                        (Evasive)
truck coming from and returning
to Cluster IV?
208. Are you aware of evidence      Substantive         Nonresponsive     246:19–247:2
that anyone other than soldiers
assigned to EMOI operations
were responsible for killing
[Individual 15]?
209. Are you aware if               Substantive         Responsive        247:3–10
[Individual 15] had connections
to GAM?
210. Can you identify any steps     Substantive         Responsive        247:11–24
EMOI took to investigate killing
of [Individual 15]?
211. Did EMOI have a CCTV           Substantive         Lacks Knowledge   247:25–
system to monitor behavior at                                             249:15
Cluster IV?
212. Have you read the              Record/Foundation   Nonresponsive     249:20–250:3
testimony of [Individual 16] that
[Individual 17] was shot and
killed by soldiers near Cluster
IV?
213. Have you read the              Record/Foundation   Nonresponsive     250:4–10
testimony of [Individual 18] that
he saw soldiers from Cluster IV
shoot [Individual 17]?
214. Are you aware of evidence      Substantive         Nonresponsive     250:13–21
that anyone other than soldiers
assigned to EMOI operations
were responsible for killing
[Individual 17]?
215. Are you aware if               Substantive         Responsive        250:22–251:2
[Individual 17] had connections
to GAM?




                                             15a
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 49 of 56




216. Did EMOI take any steps to       Substantive         Responsive      251:3–23
investigate killing of [Individual
17]?
217. Did EMOI take any steps to       Substantive         Responsive      251:24–252:7
respond to killing of [Individual
17]?
218. Have you read the                Record/Foundation   Nonresponsive   252:11–15,
testimony of [Individual 19] that                                         255:3–256:6
[Individual 20] was taken by
soldiers to Point A and tortured?
219. In January 2001, were            Substantive         Nonresponsive   252:16–255:2
many soldiers guarding EMOI’s
operations still stationed at Point
A?
220. Are you aware of anything        Substantive         Responsive      256:7–23
EMOI did to determine which
soldiers took [Individual 20] to
Point A?
221. Are you aware of evidence        Substantive         Responsive      256:24–257:8
that anyone other than soldiers
assigned to Point A were
responsible for torture of
[Individual 20]?
222. Are you aware of anything        Substantive         Responsive      257:9–20
EMOI did to determine who was
involved in torture of [Individual
20]?
223. Did EMOI ask anyone to           Substantive         Responsive      257:21–
investigate what happened to                                              258:13
[Individual 20]?
224. Do you know anything             Substantive         Responsive      258:14–21
about the conduct that caused
[Individual 20] to lose an eye
and a hand?
225. Between July and                 Substantive         Nonresponsive   259:10–
December 1999, did the number                                             262:25,
of soldiers assigned to protect                                           265:7–11
EMOI facilities increase from
approximately 100 to
approximately 200?
226. Do you know how many             Substantive         Responsive      263:2–265:6
soldiers were deployed in July
1999?
227. In April 2000, did EMOI          Substantive         Nonresponsive   265:16–
ask for more troops?                                                      266:10



                                               16a
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 50 of 56




228. Is Exhibit 8 an April 10,      Record/Foundation   Responsive        268:13–
2000 document addressed to a                                              269:22
senior official at Pertamina?
229. In Exhibit 8, does Wilson      Record/Foundation   Responsive        269:23–
request additional security                                               270:18
support?
230. Does the cover email in        Record/Foundation   Responsive        270:22–
Exhibit 8 request Johnson’s                                               271:19
concurrence?
231. Did Johnson indicate that      Record/Foundation   Responsive        271:20–24
he concurs?
232. Is Exhibit 9 a memo written    Record/Foundation   Responsive        273:17–21
by Adrian Wong?
233. Does Wong identify             Record/Foundation   Responsive        273:22–274:4
himself as a security advisor for
APSBC?
234. Does APSBC stand for           Substantive         Lacks Knowledge   274:3–8
Asia Pacific Security Business
Center?
235. Is the subject of Exhibit 9    Record/Foundation   Responsive        274:9–13
“increase in military
deployment”?
236. In Exhibit 9, does Wong        Record/Foundation   Responsive        274:14–19
report about what happened at
an April 20, 2000 meeting
between Exxon representatives
and the military?
237. Does Exhibit 9 list K.         Record/Foundation   Responsive        274:20–25
Jayadev as an attendee?
238. Was Jayadev from EMC’s         Substantive         Nonresponsive     275:2–8
Global Security International
Group?
239. Did Jayadev also work for      Substantive         Responsive        275:9–276:8
the Asia Pacific Security
Business Center?
240. Does Exhibit 5 list K.         Record/Foundation   Responsive        276:16–18
Jayadev?
241. Does Exhibit 5 identify K.     Record/Foundation   Responsive        276:19–
Jayadev as the Risk                                                       277:10
Management Coordinator,
Security Business Center —
Asia Pacific?




                                             17a
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 51 of 56




242. Does Exhibit 9 say that         Record/Foundation   Responsive        277:24–
Exxon representatives briefed                                              278:12
the military on the need to get
back into normal operational
conditions and immediate
project requirements?
243. Does a chart in Exhibit 9       Record/Foundation   Lacks Knowledge   278:13–22
indicate that Exxon
representatives and the military
reviewed Major Iskander’s
proposal?
244. Does Exhibit 9 say that         Record/Foundation   Responsive        279:6–22
deployment and operational
strategy depend on manpower
resources that need to be agreed
upon by senior military and
MOI leaders?
245. Did you speak to Wong to        Record/Foundation   Responsive        279:25–280:4
prepare for this deposition?
246. Does Exhibit 9 say that the     Record/Foundation   Responsive        280:5–12
military would accept housing
provided by MOI located
outside of MOI facilities?
247. Does Exhibit 9 say that         Record/Foundation   Responsive        280:13–23
timing of additional manpower
of 500–600 soldiers will depend
on agreement of senior military
and MOI leaders?
248. In Exhibit 9, does Wong         Record/Foundation   Responsive        280:24–
indicate that the deployment                                               281:9,
should be supported if                                                     283:16–24
conditions are met?
249. Is the first condition listed   Record/Foundation   Responsive        281:10–
in Exhibit 9 that the military                                             283:3,
allows MOI to influence the                                                283:25–
security plan and development                                              284:12
strategy?
250. Is the second condition         Record/Foundation   Nonresponsive     284:13–285:4
listed in Exhibit 9 that MOI and
the military constantly monitor
the military operation plan?
251. Is the third condition listed   Record/Foundation   Responsive        285:5–15,
in Exhibit 9 that the military                                             296:10–21
agree to a code of conduct (per
risk assessment
recommendations)?


                                              18a
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 52 of 56




252. Did you review EMOI risk         Record/Foundation   Responsive        285:16–
assessments to prepare for this                                             293:4,
deposition?                                                                 293:19–294:9
253. Did the February or March        Substantive         Lacks Knowledge   296:22–
2000 EMOI risk assessment                                                   297:14
recommend that a code of
conduct be established for the
military?
254. Was the code of conduct          Substantive         Nonresponsive     297:15–
that was described in that risk                                             297:25
assessment ever drafted by
anyone at EMOI?
255. Have you read Connor’s           Record/Foundation   Nonresponsive     298:2–18
testimony?                                                (Evasive)
256. Are you aware that Connor        Record/Foundation   Nonresponsive     298:19–
testified that he is not aware of a                                         299:17
code being drafted?
257. Are you aware of any             Substantive         Nonresponsive     299:18–300:5
evidence that would lead you to                           (Evasive)
disagree with Connor’s
testimony?
258. Does Exhibit 10 indicate         Record/Foundation   Responsive        303:25–305:6
that in early June Massey
reported to Johnson that there
would be 900 military personnel
dedicated to MOI security?
259. At this time, was Massey         Substantive         Responsive        305:7–12
the number two person in charge
of EMOI?
260. Had Massey replaced              Substantive         Responsive        305:13–16
Duffin?
261. Did Massey forward more          Record/Foundation   Responsive        305:17–306:3
detailed information he received
from Connor?
262. Does Exhibit 10 indicate         Record/Foundation   Nonresponsive     306:4–11
that 500 of 900 soldiers will take                        (Evasive)
over the inner ring of security?
263. Does the inner ring of           Substantive         Nonresponsive     306:12–18
security refer to soldiers                                (Evasive)
deployed immediately around
Point A and the clusters?
264. Does the outer ring of           Substantive         Nonresponsive     306:19–25
security refer to soldiers
deployed further out?




                                               19a
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 53 of 56




265. Does Exhibit 10 indicate        Record/Foundation   Responsive      307:2–7
that 400 soldiers will be
deployed inside the MOI
facilities?
266. Does Exhibit 10 indicate        Record/Foundation   Responsive      307:8–14
that 400 soldiers will take over
the outer ring of security?
267. Is Exhibit 11 an email from     Record/Foundation   Responsive      308:12–17
Laureys?
268. Is Laureys a security group     Substantive         Nonresponsive   308:18–23
employee from the Houston                                (Evasive)
Business Center?
269. Is the subject of Exhibit 11    Record/Foundation   Nonresponsive   309:4–16
“meeting with representatives of                         (Evasive)
Bn 113 (outer ring security)”?
270. Per Exhibit 11, is outer ring   Record/Foundation   Responsive      309:17–20
security being provided by
Battalion 113?
271. In Exhibit 11, does Laureys     Record/Foundation   Responsive      309:21–310:4
report to EMOI senior
management and others that he
has met with representatives of
Battalion 113 and that they will
be able to deploy along the
pipeline road as soon as they get
support?
272. Was Exhibit 11 forwarded        Record/Foundation   Responsive      310:5–311:4
to Farmer?
273. Were EMOI officials             Substantive         Nonresponsive   311:5–319:13
updating Exxon officials in the
United States weekly when the
use of military guards was
increasing in June 2000?
274. Have you reviewed the           Record/Foundation   Nonresponsive   321:9–22
testimony of [Individual 21] that
she was sexually assaulted by a
member of Battalion 113 in
March 2001?
275. Was EMOI’s senior               Substantive         Nonresponsive   321:23–
management aware in 2000 that                                            323:16,
the State Department had                                                 325:25–
reported that there were credible                                        326:15
allegations that hundreds of
Acehnese women had been
raped during military operations
between 1989–1998?


                                              20a
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 54 of 56




276. When EMOI requested             Substantive         Nonresponsive   323:17–
more military guards, did it do                                          324:15
anything to determine whether
military personnel had a long
history of engaging in rape in
Aceh?
277. In 2000, was EMOI’s             Substantive         Nonresponsive   324:19–
senior management aware of the                                           325:24
history of military rape in Aceh?
278. Are you aware of any            Substantive         Responsive      326:16–329:8
actions EMOI took to
investigate the rape of
[Individual 21]?
279. You are not aware of            Substantive         Responsive      329:9–
anything EMOI did to                                                     331:22,
investigate any of the plaintiffs’                                       343:6–25
claims?
280. Are you aware of any            Substantive         Nonresponsive   331:23–
investigation EMOI ever did of                                           332:11
torture of local villagers by
soldiers assigned to EMOI?
281. Is Exhibit 12 an email from     Record/Foundation   Responsive      333:24–334:4
Connor to Jayadev and Oh?
282. Does Connor indicate in         Record/Foundation   Responsive      334:5–11
Exhibit 12 that the information
is sensitive but can be shared on
a need-to-know basis?
283. Does Exhibit 12 indicate        Record/Foundation   Responsive      334:17–335:7
that troops have been deployed
and that Johnson overrode the
military on the deployment?
284. Is the L. Johnson               Substantive         Responsive      335:8–14
referenced in Exhibit 12 Lance
Johnson?
285. Did you speak to Johnson        Record/Foundation   Responsive      335:15–19
to prepare for this deposition?
286. Does Exhibit 12 indicate        Record/Foundation   Responsive      335:20–
that troopers are patrolling at                                          356:22
Point A, 1–4, and BI?
287. At this time, did EMOI          Substantive         Responsive      336:23–
have facilities at Point A,                                              337:21
Clusters I–IV, and a housing
facility called Bukit Indah?
288. Does Exhibit 12 report that     Record/Foundation   Responsive      337:22–
30% of troops are stationed in                                           338:20,
the jungle?                                                              339:17–21


                                              21a
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 55 of 56




289. Were you in Indonesia          Preliminary         Responsive        338:21–
from 1991–2001?                                                           339:10
290. Was Connor living in Aceh      Substantive         Responsive        339:11–16
at the time?
291. Does Exhibit 12 say “that’s    Record/Foundation   Nonresponsive     339:22–
where they moved after we built                                           340:14
them accommodations”?
292. Does Exhibit 12 indicate       Record/Foundation   Nonresponsive     340:15–25
that 300 troops were operating
outside the fences surrounding
EMOI operations?
293. Was EMOI aware in the          Substantive         Nonresponsive     341:15–
fall of 2000 that the troops were                                         342:16
conducting sweeps of local
villages?
294. Had EMOI been told by          Substantive         Nonresponsive     342:17–343:5
Solomon in July 2000 that the
military claimed that they were
sweeping villages to protect
EMOI’s facilities?
295. Did you request any            Substantive         Nonresponsive     344:2–10
investigation of injuries alleged
by the plaintiffs?
296. Does Exhibit 12 discuss        Record/Foundation   Nonresponsive     344:11–
where Connor is getting                                 (Evasive)         345:18
instructions?
297. Can you explain what           Substantive         Lacks Knowledge   345:19–
Connor means by “getting                                                  346:21
instructions right from the top”?
298. After additional soldiers      Substantive         Nonresponsive     348:23–
were deployed in June 2000, did                         (Evasive)         349:11
EMOI employees provide
briefing on the rules the guards
would be subject to?
299. Is Exhibit 13 an email from    Record/Foundation   Responsive        349:12–15
Sjukri to Dodds and others?
300. Is the subject of Exhibit 13   Record/Foundation   Nonresponsive     349:16–20
“Rules for military personnel                           (Evasive)
deployed at Clusters and Point
A”?
301. Does Exhibit 13 report that    Record/Foundation   Nonresponsive     349:21–350:8
Sjukri and another EMOI
employee have met with military
personnel to explain the rules?
302. Does Exhibit 13 list those     Record/Foundation   Nonresponsive     350:9–351:14
rules?                                                  (Evasive)


                                             22a
      Case 1:01-cv-01357-RCL Document 803 Filed 05/07/21 Page 56 of 56




303. Is the first rule in Exhibit    Record/Foundation   Responsive      351:15–23
13 about confining military
activities to open roads in the
clusters and Point A?
304. Is the third rule in Exhibit    Record/Foundation   Responsive      351:24–
13 about observing safety                                                352:17
precautions posted on notice
boards?
305. Is the fourth rule in Exhibit   Record/Foundation   Nonresponsive   352:20–
13 that office areas and                                                 353:11
workshops are out-of-bounds?
306. Was Sjukri present in Aceh      Substantive         Nonresponsive   353:12–21
at the time he wrote this email?
307. Was Dodds the operation         Substantive         Responsive      353:22–
manager for EMOI facilities?                                             354:10
308. Does Exhibit 13 indicate        Record/Foundation   Nonresponsive   354:11–
that Dodds responded “Many                                               355:10
thanks for the note Sjamun, this
initiative is very important and I
pleased you have taken this
action”?
309. Is the fifth rule in Exhibit    Record/Foundation   Responsive      355:11–14
13 about smoking areas?
310. Is the sixth rule in Exhibit    Record/Foundation   Responsive      355:15–356:4
13 about evacuation procedures?
311. Is the seventh rule in          Record/Foundation   Nonresponsive   356:5–14
Exhibit 13 about speed limits?
312. Did EMOI personnel say          Substantive         Nonresponsive   356:15–357:4
anything during these briefings
about the use of physical force?
313. Did EMOI personnel say          Substantive         Nonresponsive   357:5–12
anything during these briefings
about the use of excessive force?
314. Did EMOI personnel say          Substantive         Nonresponsive   357:13–358:8
anything during these briefings
about the use of torture?
315. Are you aware of any            Substantive         Nonresponsive   358:9–359:13
evidence that rules about the use
of force were posted on notice
boards?
316. Were any rules about the        Substantive         Nonresponsive   359:14–20
use of torture posted on the
notice boards?




                                              23a
